                            Exhibit 1




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KCC Class Action Services
Stringer v. Nissan North America, Inc.
Exclusion Report

     Count
     1486

 ClaimID        Last Name                First Name                      VIN
 13281433001    DELELUZZAMORA            MIGUEL                          KNMAT2MT0HP598721
 13244923701    GALVAN                   SANDRA                          JN8AS5MV9EW203981
 13148716401    LOPEZ                    JOSE                            5N1AT2MT5GC819179
 13138319001    GALEANA                  URSULA                          5N1AT2MT2JC769901
 13103229001    VARGAS                   VALENTE                         5N1AR2MN6FC705058
 13137040601    AMBRIZ                   DAVID                           5N1AT2MT2GC875242
 90000008901    SANCHEZ                  OCTAVIO                         5N1DR2MN0HC622628
 12198588001    HECHT                    JONATHAN E                      JN8AT2MV5HW008167
 13209371601    HERNANDEZ                LUIS M                          5N1DR2MN3JC640871
 13246152301    GOMEZ                    VERONICA                        JN8AT2MT0HW136525
 13215961201    HERNANDEZ                ERIKA L                         5N1DR2MN7HC676945
 13220678001    JARAMILLO                GERARDO CRUZ & ESMERALDA        5N1DR2MN9JC658565
 11741182601    TIPTON                   CECIL & CHARLOTTE               JN8AS5MT3FW150985
 10438080901    GARCIA                   CHARLES                         5N1AT2MT0FC754739
 13511054301    BRANCH                   JACQUELINE A                    5N1AT2MV5JC801385
 12198887901    GASTON                   CARMEN E                        JN8AT2MV5HW010100
 10537674701    HUGHES                   GLORIA M                        5N1AT2MT3FC795690
 13240735801    REYNOLDS                 KATHERINE                       JN8AS5MT9FW663674
 11049567601    MCBRIDE                  LINDA ANN                       5N1AT2MV5EC840709
 12364681901    BAKER                    DONALD (VERA)                   KNMAT2MT2FP509213
 11921857401    ROSENBALM                SANDRA L                        JN8AS5MV9EW201888
 13015273001    LEAKE                    CYNTHIA M                       KNMAT2MV9HP560812
 10595939001    TINSLEY                  DONALD                          5N1AT2MT5EC774127
 11760782401    SMITH                    DEBRA I                         JN8AS5MT5EW607486
 11311693701    HICKS                    KELLY M                         5N1AT2MVXFC855112
 13237265401    HATTEN                   MICHAEL & CAROLANN              JN8AS5MT8EW102591
 11665541001    BROWN                    LARRY G                         5N1DR2MN7HC632993
 10994774501    FLORES                   JULIANNA M                      5N1AT2MV4EC784097
 10713687901    MICHELLE                 KAY BANKS                       5N1AT2MT8HC770951
 10057965601    HUMPHREY                 JODIE B                         5N1AL0MM7GC507460
 13534057301    HUTCHINSON               IAN MICHAEL                     5N1AT2MVXEC839989
 11460259101    KEEN                     BRENDA RICE & THOMAS H          5N1DL0MNXHC556823
 10499325001    FIELDS                   RONNA LEE                       5N1AT2MT2EC787918
 13275072701    GONZALEZGARCIA           JAVIER                          JN8AT2MV4HW267717
 10790358101    MIESBURGER               MICHAEL FRANCIS                 5N1AT2MV0EC762887
 10599808401    CONN                     COURTNEY L                      5N1AT2MT5EC864300
 90000003001    LECKER                   RICHARD                         JN8AS5MT2FW659109
 10826897401    ETHERIDGE                JESSICA L                       5N1AT2MV0HC826205
 12732414801    FOOTE                    MARK JAMES                      KNMAT2MV2HP587298
 10367569301    GARDNER                  DEBORAH                         5N1AR2MN9GC658352
 13287550001    RODRIGUEZ                RICARDO                         KNMAT2MT1JP512063
 13300236601    MORALES                  GARIBALDI BENJAMIN & JOSEFINA   KNMAT2MT3JP615341
 13266880401    VIDANA                   MARIA ESTHER                    JN8AT2MT8HW152181
 90000096001    WILLIAMS                 CHRISTOPHER & JENNIFER          5N1AR2MM1FC666046
 13166318501    FARHOOMAND               FIROOZ                          5N1AT2MT9JC754974
 13144397501    FARHOOMAND               FIROOZ                          5N1AT2MT4GC753739
 90000028401    MARTINEZ                 QUINZINO ALCARAZ                5N1AR2MN3FC719970


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90000059401   PARTIDA                      LIZBETH L           5N1DR2MN0JC671494
13214498001   GARCIA                       JUAN M              5N1DR2MN6HC912114
90000056901   TREVINO                      JOANNA              5N1DR2MN0JC617483
90000238401   SOLARZ                       JEFFREY             5N1AL0MM4FC507169
13288767801   CABRERA                      HEIDY A             KNMAT2MT1JP607075
90000239601   HERNANDEZ                    HILDA               5N1AR2MN0GC663746
13213554101   PACHO                        MELODY RENEE        5N1DR2MN6HC611715
13310505201   NAVAS                        ANA M               KNMAT2MT5JP533904
13167140601   DANIELS                      KIMBERLY            5N1AT2MTXEC804495
13109729501   GARCIA                       GUILLERMO           5N1AR2MNXFC651747
13103726201   BROUSSARD                    PAMELA CAMILLE      5N1AR2MN6GC643033
13221525101   MURO                         RAMSEY              5N1DR2MNXHC671867
11800451701   JORDAN                       KIANA IMANI         JN8AS5MT8FW650916
13106668701   HERNANDEZ                    JESUCITA            5N1AR2MN8FC702310
90000240201   SALAZAR                      JOE                 5N1DR2MN7HC625008
90000234701   ALGRE                        TATIANA             KNMAT2MT4FP588609
90000040501   CARBONARI                    MARYANNE            5N1AT2MN6HC753745
90000245101   HAERI                        JALIL               5N1DL0MM1HC555972
13181920301   MAROTO                       AMALIA              5N1AT2MVXHC757782
90000246301   RANDOLPH                     MARGO               5N1DR2MN6HC621287
90000247501   BROUSSARD                    CHRISTOPHER         5N1AR2MN6GC643033
13099658001   ALBRECHT                     MICHAEL DAVID       5N1AR2MN4FC692889
90000051001   GARCIA                       ANA LORENA          5N1DR2MN6HC912114
13156795001   ROMERO                       MARIA M             5N1AT2MT7GC822956
13298491001   RAMIREZ                      JORGE A             KNMAT2MT3HP600574
13105715701   PENICHE                      ARMANDO J           5N1AR2MN8FC602028
13347745901   SERNA                        LUIS                KNMAT2MV5HP537706
13154627201   GALLAGHER                    LILIANA             5N1AT2MT6JC838198
90000250501   MARTINEZ                     ADRIAN              JN8AS5MT5FW669875
13124829701   NAVARRETE                    DOUGLAS H           5N1AT2MN8GC865932
13334032601   BELL                         KYLE                KNMAT2MT9JP600990
13077521601   MOORE                        ALLISON P           5N1AL0MN2FC522293
13093655801   CALLE                        VANESSA             5N1AR2MN0GC663746
90000253001   HIBNER                       ROBERT              KNMAT2MT3JP514624
13329803601   MEZA                         ARMANDO             KNMAT2MT9GP642813
13207533701   ANDRZEJCZYK                  CHARLES P           5N1DR2MN2JC646032
13323207401   NGUYEN                       TUAN VAN            KNMAT2MT8FP536075
13326321601   JONES                        ROGER ALAN          KNMAT2MT8HP576756
90000254201   BELL                         SAMANTHA            KNMAT2MT9JP600990
13278128101   GARDUNO                      ALVARO SALAZAR      KNMAT2MT0FP559527
90000255401   SALAZAR                      RACHEL              KNMAT2MT0FP559527
13251427801   MONTIEL                      MANUEL              JN8AT2MT2HW141516
13242447201   CORNEJO                      ADELA C             JN8AS5MTXFW660508
90000030201   BOLUS                        EUGENE              5N1AR2MN0FC646525
90000037501   RAMIREZ                      MARIA               5N1AR2MNXFC711221
13101636201   & JUAN JOSE MARTINEZ CAOBA   MARTINEZ GENOVEVA   5N1AR2MN5FC720215
13293148501   MARTINEZ                     RESENDIZ ENRIQUE    KNMAT2MT2JP515019
13137973201   GUILLEN                      ROBERTO             5N1AT2MT2JC712582
13273410201   IBARRAQUEVEDO                ANDRES              JN8AT2MV0HW251918
90000015601   SANCHEZ                      VICTOR              5N1DR2MN8JC663935
13334138001   CAMPBELL                     SABRINA CHANISE     KNMAT2MT9JP615764
13200894401   ACOSTA                       RUTH                5N1DR2MM8HC695995
13310189701   CALDERON                     ALICIA M            KNMAT2MT5JP512423
13339439601   FRITZAL                      SUSAN J             KNMAT2MTXJP584332
13149298601   ANTUNEZ                      CHRISTIAN M         5N1AT2MT5HC763164


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13266193701   & HECTOR CERVANTES   SANDRA R AGUIAR              JN8AT2MT8GW027941
13134421301   & ERIKA DUENAS       BEDER NAVARRO                5N1AT2MT1JC798497
13129118001   ONTIVEROS            MARIA                        5N1AT2MT0HC753853
13114714601   PAIZ                 AURA P                       5N1AT2ML4FC887956
13101747001   & MARIO CHAVEZ       JAQUELINE GIL ZUNIGA         5N1AR2MN5GC608600
13094146301   ANDERSON             MARIA I & DANIEL J           5N1AR2MN1FC639809
13216965401   & SILVIA CAMPOS      JOSE QUINTANILLAMONTEAGUDO   5N1DR2MN7JC665353
13137925201   RAMIREZ              KIMBERLIN                    5N1AT2MT2JC705471
13206946501   FERNANDEZ JR         MACARIO                      5N1DR2MN2HC698836
11768190801   KEMPER               BERNADETTE REPALDA           JN8AS5MT5FW661646
13249727001   HARRIS               KEISHA JOY                   JN8AT2MT1HW401100
10402481101   WALKER               CAROL                        5N1AT2ML4FC913701
11190743301   CAPALAD              JESUS A                      5N1AT2MV7JC776523
13115865001   VAZQUEZ              JAIME D                      5N1AT2ML6FC850648
13322758301   REYES                OSCAR GABRIEL                KNMAT2MT7JP595305
13249770001   PEREZ                MARIO                        JN8AT2MT1HW402506
13256006901   MUROCASTILLO         ADOLFO A                     JN8AT2MT4GW026317
13170740101   SILVA                EDUARDO                      5N1AT2MTXJC819721
12891280701   DUVALL               MICHAEL E                    KNMAT2MV6HP537522
10977233701   MORRIS               PATRICIA FLORENCE            5N1AT2MV3HC801010
10562039701   JIMENEZ              MARIA ASUSENA                5N1AT2MT3JC839499
13210043501   & MIGUEL GOMEZ       INDIRA GOMEZVACA             5N1DR2MN4HC637083
10438355001   SAMACH               MICHAEL STEPHEN              5N1AT2MT0FC761576
90000020001   RODRIGUEZ            JOSEPH A                     JN8AS5MT3FW665226
13451380001   PEREZ                MERCEDES & FRANCISCO         KNMAT2MT4GP662712
13281423701   JIMENEZ              RUBY & RAFAEL                KNMAT2MT0HP597729
13137545301   CENTENO              RAFAEL MANUEL & ALMA         5N1AT2MT2HC813647
13268693401   HARRIE               ARACELI                      JN8AT2MT9GW024420
12774881701   LUNCEFORD SR         ALAN K                       KNMAT2MV3HP608904
10398357001   PETERS               THERESA C                    5N1AT2ML2EC838849
12665943601   CRETER               JENNIFER BALLAM & ERIC       KNMAT2MV1FP528157
10769291001   STEPHENSON           GREGORY MARK                 5N1AT2MTXFC926792
11605037801   RODRIGUEZ-DROSE      NELLY OMAIRA & KRISTEN       5N1DR2MN0JC637636
12051215401   SCHERERROBINSON      LYNN M                       JN8AT2MT7HW394072
11523891801   LAUTZENHEISER        CHAR                         5N1DR2MM5HC604763
10825254101   LEE                  MARK ANTON                   5N1AT2MV0HC800316
12190187701   LAIRD                TERRY A                      JN8AT2MV4JW316209
11779373501   RUSH                 BEVERLY S                    JN8AS5MT6FW661039
10309578001   TUCKER               AMANDA MICHELLE              5N1AR2MN4FC657513
11826886701   LIPPO                FRANCES                      JN8AS5MTXFW674280
12470900001   FITE                 JENNIFER ANN B               KNMAT2MT5HP615612
13521207801   DUGAN                JAMES A                      5N1AT2MV7HC832096
13346989001   RAMOS                SUSAN N                      KNMAT2MV4JP585154
90000336401   FARES                EDWARD                       5N1AR2MN0FC711891
13102937001   WEATHERS             FULTON                       5N1AR2MN6FC672143
90000329701   HICKS                MICHELLE                     5N1AT2MT5EC763516
13209316901   DUNCANTELL           PAMELLA P                    5N1DR2MN3JC638098
90000326101   GALVAN               GABE                         5N1AL0MN7GC523005
13342842401   TEAGUE               SONIA                        KNMAT2MV2FP568652
13141550501   ZELEDON              ROBERTO HERNANDEZ            5N1AT2MT3HC805587
90000325001   ZARAGOZA             MARIA                        5N1DR2MN5HC910936
13291314801   PEREZ JR             RUBEN                        KNMAT2MT2HP513734
11072696001   POSTEMA              REBECCA L                    5N1AT2MV5GC875866
90000335201   HUNT                 JAMES                        5N1DR2MN5HC676314
90000327301   GUEVARA              JULIA                        5N1DR2MN5JC611498


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13240997501   GONZALEZ                JULIO C & SILVIA    JN8AS5MT9FW674724
13297495201   DOMINGUEZ               MARIELA             KNMAT2MT3HP540649
13247161901   OMORUYI                 MAISHA M            JN8AT2MT0HW397749
13096468201   AGUILAR                 ROBIN R & ANDREW    5N1AR2MN2FC710337
13219731501   GONZALEZ                VICTORIO VIANEY     5N1DR2MN9HC680060
13165441001   LINARES                 TERESA              5N1AT2MT9HC767251
13146208801   & JORGE LOMELI TORRES   JUAN C ALCAZAR JR   5N1AT2MT4JC755921
10256525901   FAN                     WEIHONG             5N1AR2MMXFC654767
13302406401   LUPIAN                  MARIA & ROGELIO     KNMAT2MT4GP716333
13301040501   VALDES                  ENRIQUE A           KNMAT2MT4GP593164
13278698901   COUOH                   ANGELICA M          KNMAT2MT0GP618674
13309831001   GARRETT                 THIANNE             KNMAT2MT5HP606439
13180098001   CANTON                  HECTOR A            5N1AT2MV8JC786221
13206207001   & SONIA GAETA           RAFAEL A TREVIZO    5N1DR2MN2HC623036
10214393601   GOLDMAN                 SARAH               5N1AR2MM6GC645792
13161453801   & JOSUE GALANROCA       IRIS DEGALAN        5N1AT2MT8HC782338
13266517701   MADISON                 MELODY J            JN8AT2MT8HW138314
13122441401   RAMIREZ                 RAMIRO              5N1AT2MN4HC820536
13132403201   CORTES                  SAMMY               5N1AT2MT1GC772331
13180791201   LYNCH                   TRICIA              5N1AT2MV9GC864403
13220573701   ROMERO                  IRMA                5N1DR2MN9JC647274
13242034001   PEREZ                   VALENTIN            JN8AS5MTXFW158436
13216802901   PENA                    DAMARIS EDITH       5N1DR2MN7JC649203
13228651801   ORTIZ                   MAURA               JN8AS5MT3EW611181
13244478101   LECHUGA                 EVA M               JN8AS5MV7EW712385
13256152901   ESCOBAR                 VILMA               JN8AT2MT4HW130789
13092508101   GUTIERREZ               GABRIELA            5N1AR2MN0FC653023
13235209601   MALTZ                   DEBRA L             JN8AS5MT6FW665074
13316438001   WILLIAMS                KIARA SHAUNTE       KNMAT2MT6JP547598
13339114001   VILCHIS                 REYNA               KNMAT2MTXJP555302
13284425401   ARREOLAPEREZ            DAVID               KNMAT2MT1GP631157
13146461901   RODRIGUEZ MEDINA        ROSA E              5N1AT2MT4JC800260
13324857401   MUNOZ                   CRISTIAN I          KNMAT2MT8GP704461
13243795801   LITA                    MARIBEL D           JN8AS5MV4FW250207
13354447301   & LILIANA ROSAS         ROGELIO TOSACANO    KNMAT2MVXGP713017
13220722901   RAMIREZ                 MARIA A             5N1DR2MN9JC662468
13215447001   VARELA                  JULIO               5N1DR2MN7HC621072
13119916001   WILLIAMS                DAVID               5N1AT2MN1GC798557
13133826201   NANEZ                   ANA                 5N1AT2MT1HC893569
13132846301   & ISAURA MANCERA        ABEL HERNANDEZ      5N1AT2MT1GC863793
13169905201   MEJIA                   SADY G              5N1AT2MTXHC864832
13261816301   OCARANZA                MARIA               JN8AT2MT6HW152065
13322704201   CASTILLO                FERNANDO            KNMAT2MT7JP592243
10424845201   BUSH                    RYAN MICHAEL        5N1AT2MN3HC825484
13603143201   LAUSCH                  SHIRLEY ANN         KNMAT2MV0GP684708
90000047801   BAUTISTA                ADOLFO              5N1AT2MT6FC897579
90000057001   RODRIGUEZ               ANTONIO             5N1AR2MN8FC702310
13274147701   WOHLFROMHALL            JENNIFER M          JN8AT2MV2GW153262
90000261001   LORD                    TANYA               JN8AS5MT6FW653121
13121933901   MUNGUIAPENA             FERNANDO ANDRES     5N1AT2MN4GC796074
90000262101   LOURENCO                NIVIA               5N1DL0MMXHC544498
13292624601   WILLIAMS                TEDD E              KNMAT2MT2HP598929
13117186001   LOMINGKIT               RAJAH               5N1AT2ML9EC796406
13208892701   GARCIA                  MARGARITA           5N1DR2MN3HC910062
13233445801   ACOSTA                  SYLVIA              JN8AS5MT5FW669875


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90000264501   BUTLER            ROSALIND                 5N1DR2MN3HC605564
13308919801   BLACK ROBERTS     VELLA K                  KNMAT2MT5HP549756
13126703601   JENNING           VALDENA V                5N1AT2MT0EC763522
90000266901   FISH              ANN                      5N1AR2MM2FC706425
13228007301   DIMACALI          CRISMEL                  JN8AS5MT2FW667050
13307382801   CHARLES IV        ROBERT K                 KNMAT2MT5GP665442
90000267001   CUBILLAS          ANDREA                   5N1AT2MN7GC872497
13092038101   SWALLEY           GAIL                     5N1AR2MN0FC602900
13177485201   ADGER             DORIS A                  5N1AT2MV6GC732876
90000272401   LOY               MIAROSE                  5N1DL0MM0HC551248
13203855901   ROUZAN            BRITTANY L               5N1DR2MN0JC651312
90000268201   DUBINSKY          JOSHUA                   5N1DR2MN0JC651312
13139371601   REYES             MARITZA                  5N1AT2MT3EC867051
13224793801   ALVARADO          ROSA J                   JN8AS5MT1EW605167
13237935101   WARE              LEONARD B                JN8AS5MT8EW619356
13160031001   DUENAS            JESUS GERARDO            5N1AT2MT8FC872344
13286258001   GARCIA            ERIKA                    KNMAT2MT1HP548328
13270470501   BRANDON           LISA R                   JN8AT2MT9JW459655
13295409601   GALLEGOS          ALBERT J                 KNMAT2MT3GP605255
13270897801   NYGARD            STEPHANIE R              JN8AT2MTXGW005181
13216745101   JOHNSON           JEANETTE                 5N1DR2MN7JC640419
13161102101   CORNEAU           NELSON C                 5N1AT2MT8GC891199
13305025701   ZEIDMAN           EDWARD                   KNMAT2MT4JP540715
13296610401   DIAZ              MARIBEL                  KNMAT2MT3GP711611
90000281501   SHERLOCK          ALYSIA                   5N1AT2MT2GC899749
90000283901   SPRINGER          SABRA                    5N1AR2MMXGC638957
90000285201   ESTRADA           FRANCISCA                5N1DR2MN4JC627322
90000053301   SHARMA            PRITAM                   5N1DR2MN4HC642199
13306649601   ESKEW             ARIANNE A                KNMAT2MT5FP587503
13197758101   PARVANTA          WALY                     5N1DR2MM2HC676939
90000038701   STILL             GEORGIA                  5N1AT2MT3GC733028
90000278501   SALGADO           LAURA                    5N1AR2MN1FC671241
13260583101   QUEVEDO           ALEX OMAR                JN8AT2MT5JW492409
13152590601   GUZMAN            JORGE LUIS               5N1AT2MT6GC787729
90000287601   GUZMAN            CLAUDIA SUSANA MERIDA    5N1AT2MT6GC787729
13217272001   REVELES           LIDIA GUADALUPE          5N1DR2MN8HC617998
90000277301   JOHNSON           LISA                     JN8AS5MT0FW661246
13234909701   LORD              JEFFERY A                JN8AS5MT6FW653121
13166673301   ORANTES           KIMBERLY R               5N1AT2MT9JC822352
13158824201   BARAJAS           ELIANA                   5N1AT2MT8EC760769
13235789601   GARDEA            CRYSTAL                  JN8AS5MT7EW608686
90000288801   WARE              MISHA                    JN8AS5MT8EW619356
90000289001   ALVARADO          FLAVIO                   JN8AS5MT1EW605167
13282519301   TOLER             TAMMY L                  KNMAT2MT0JP558886
90000290601   MCPARTLAND        TIP                      KNMAT2MV7GP633108
13146291001   AVILA             AIDA                     5N1AT2MT4JC769012
13221173701   CHAVEZ            JANET                    5N1DR2MNXHC629327
13102236201   DAVALOS           PRISCILA                 5N1AR2MN5GC668361
13103547201   GOODWIN           SAMANTHA                 5N1AR2MN6GC619637
13099880101   FITZPATRICK SR    MARK DANIEL              5N1AR2MN4FC716835
90000292001   BURLESON          WARREN                   5N1AT2MT6HC791930
13218722001   ROMERO            ESTRELLA                 5N1DR2MN8JC653454
13110257601   RAMIREZ           ALBERTO                  5N1AR2MNXFC711221
13141061101   VAZQUEZ           BLANCA                   5N1AT2MT3GC870051
13138495801   SANDOVAL          RICARDO                  5N1AT2MT2JC803853


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13148039001   BARRAGAN          ALFREDO A                5N1AT2MT5FC878005
90000297901   DECKER            MARTY                    5N1AT2MTXGC862738
90000298001   TEJADA            LARRY                    JN8AS5MTXEW604910
13307380401   KAUR              BACHAN                   KNMAT2MT5GP665439
13176819001   MEJIA             RAFAEL                   5N1AT2MV5HC762601
90000300501   JONES             THOMAS                   JN8AT2MT7JW460111
13120619901   SPROWEL           VIRGIL THOMAS            5N1AT2MN2GC820999
13304614001   MIRANDA           SONIA M                  KNMAT2MT4JP512333
90000304201   JAPLIT            JOEL                     5N1DR2MN3HC698795
13164269801   GOMEZ             MARISSA                  5N1AT2MT9FC909322
13152986901   WELLS             BRIDGETT                 5N1AT2MT6GC878371
13247682401   AUTRY             BRUCE W                  JN8AT2MT0JW463738
13136287201   VIDES             VINCENT A                5N1AT2MT2GC736292
13091918401   SPRINGER          DANIEL EDWARD            5N1AR2MMXGC638957
13328005601   PERRY             NATASHA                  KNMAT2MT8JP575550
13135046801   GONZALES          JESUS RONALD             5N1AT2MT2EC828290
13287953001   CAO               JENNIFER                 KNMAT2MT1JP540218
13270353101   VARGAS            ELIA A                   JN8AT2MT9JW455136
90000460501   KLINES            TAMI                     KNMAT2MT3JP600192
13101101701   CROSBY            JUDITH R                 5N1AR2MN5FC659321
11970102901   CUMMINS           WILLIAM HOWARD           JN8AT2MT1JW486624
13120825101   OTANEZ            PRISMA                   5N1AT2MN2GC885299
13208788101   JAPLIT            ALLYSON M                5N1DR2MN3HC698795
13307943001   SANDOVAL          JOSE RAUL                KNMAT2MT5GP713442
13451336801   MORENTIN          VANESSA MONIQUE          KNMAT2MT3HP598504
90000458701   JAPLIT            ADRIAN                   5N1DR2MN3HC698795
13272685301   ZAMORA            TRINIDAD MARIA           JN8AT2MTXHW406845
13263964601   LASHEEN           BASSEM                   JN8AT2MT7HW138093
90000270001   AUTRY             JOAN                     JN8AT2MT3HW408307
13255043001   BAKER             ALAYNA                   JN8AT2MT3HW408307
13161774601   LAMBERT           TERRESIA                 5N1AT2MT8HC863209
90000456301   VENTURA           ALEX                     KNMAT2MT8JP575550
90000027201   VILLALVAZO        HELIODORO                5N1DR2MN6HC911366
13137618401   GUTIERREZ         ESMERALDA                5N1AT2MT2HC824650
90000454001   SALAZAR           JONATHAN                 KNMAT2MT1JP607075
13211107001   AVALOS            SONIA                    5N1DR2MN4JC629488
13213630201   RANDOLPH          PATRICIA                 5N1DR2MN6HC621287
90000453801   SERNA             ANNABEL                  5N1AR2MN2GC620400
90000452601   LARIOS            MARIA                    5N1AR2MNXFC651747
13294369401   BENSON            RONNI DANIELLE           KNMAT2MT2JP611863
90000451401   ARIKAWA           REBECCA                  KNMAT2MV0FP555849
13246267901   KURAMOTO          TAIKI                    JN8AT2MT0HW140428
13096779801   CONTRERAS         PEDRO                    5N1AR2MN2GC620400
13071762901   SOLARZ            MI                       5N1AL0MM4FC507169
90000055701   ENRIQUEZ          JOSELITO                 KNMAT2MT8JP516529
90000024701   DELGADO           CAROLINA                 5N1AR2MN3FC646339
13152183401   SALGADO           LAURA A                  5N1AT2MT6FC897579
13083039201   THOMPSON          LISA                     5N1AL0MN7GC528768
13092618801   MARQUEZ           FRANCISCO                5N1AR2MN0FC666337
13136833301   DOUGHERTY         INES                     5N1AT2MT2GC830673
13174377601   SEGOVIA           CARLOS MANUEL            5N1AT2MV3FC876562
90000447201   MANUEL            KIERRA                   5N1AT2MN1GC862578
13148975601   AHUJA             CHANDER                  5N1AT2MT5GC869242
13329580101   CONWELL           HEATHER JEANNINE         KNMAT2MT9GP616907
13107223701   JACOBO            SERGIO                   5N1AR2MN8GC639341


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90000444701   EDWARDS               VIRGINIA             5N1AT2MT5JC805449
90000443501   MCILRATH              MELISSA              JN8AS5MT5FW161728
13324223701   JIMENEZ               JOSE                 KNMAT2MT8GP637697
90000442301   ZEPEDA DE JIMINEZ     LORENZA              KNMAT2MT8GP637697
13323866001   ESQUIVEL              CAROLINA             KNMAT2MT8GP603713
90000441101   LUNA                  EFRAIN               5N1AT2MN2GC885299
90000440001   RANDOLPH              RICK                 5N1DR2MN6HC621287
13292658101   LUEDTKE               JENNIFER N           KNMAT2MT2HP599983
90000439301   VALDEZ                POLINA               JN8AS5MT1FW654368
90000438101   ROBERTS               TIMOTHY              KNMAT2MT5HP549756
10948599301   COSSITT               SUSAN E              5N1AT2MV3EC856620
13352179501   GUTIERREZ             LETICIA MONTANEZ     KNMAT2MV8HP611152
90000437001   BENEFIELD             DEBORAH              5N1DR2MN1JC606704
90000445901   VILLALOBOS ROMERO     ALEJANDRO            JN8AT2MT9HW154585
90000031401   CHARLES               LEATRICE             KNMAT2MT5GP665442
13268950901   RIVERA                ANGELA               JN8AT2MT9HW134076
13350035401   MCPARTLAND            KAREN A              KNMAT2MV7GP633108
90000432001   CROSBY JR             THOMAS               5N1AR2MN5FC659321
13137142301   SHERLOCK              SUSAN MARIE          5N1AT2MT2GC899749
13125115601   TWIDT                 KENTON LEE           5N1AT2MN8HC755223
13082731901   PARIS                 WILLIAM              5N1AL0MN7FC556116
13250068101   HUGHES                WENDY S              JN8AT2MT1JW458208
13207340701   HERNANDEZ             MARIA                5N1DR2MN2JC623561
90000429001   ARANA                 SERGIO               KNMAT2MT8JP607462
90000428901   FUENTES               JUAN                 KNMAT2MT2GP699712
13193696701   DARDASHTY             KATHY                5N1DL0MN7HC542247
90000062401   VAN BUREN             TRACY                KNMAT2MT1JP599219
13134271001   ESCOBAR ALFARO        MORENA E             5N1AT2MT1JC769243
13181972001   RAMIREZ               JOSE M & MARIA       5N1AT2MVXHC821142
13191437601   DAUTERIVE             VANESSA ANN          5N1DL0MN4HC559992
13333556201   & ALICIA MUNOZ        IRMA Y RANGEL        KNMAT2MT9JP560040
13133828601   CEJA                  VERONICA             5N1AT2MT1HC893684
13332609301   CALZADA               CESAR                KNMAT2MT9HP608842
11377660301   DANIELS-PERKINS       STEPHANIE E          5N1DL0MM4JC509669
13196529301   & MELISSA ELLIS       SOHEIL YAGHOUBTIL    5N1DL0MNXJC530812
13178850401   FIORE                 JOSEPH               5N1AT2MV7HC815850
10241967001   GREAT WEST CASUALTY                        5N1AR2MM9FC620206
10237462401   GREAT WEST CASUALTY                        5N1AR2MM8GC619128
13304784201   LUPOLD                MARILYN              KNMAT2MT4JP525082
90000206201   MILLER                KYLE                 5N1AR2MN8FC635708
13347550501   HOLST                 KRISTI & JUSTIN      KNMAT2MV5GP717797
13450165201   GILLIS                KELLY PAUL           JN8AS5MT5FW158182
90000208601   MILLER                KATHLEEN             5N1AR2MN5FC705990
13273773501   DOBRINEN              KATHI L              JN8AT2MV1HW013754
13306274001   AVINA                 MORALES KARINA       KNMAT2MT5FP548880
13290448201   MARTINEZ              JUAN J               KNMAT2MT2GP672302
13131229701   GOTGELF               SAMUEL               5N1AT2MT1FC755513
13219684001   SENA JR               HENRY AVERY          5N1DR2MN9HC677773
13327257601   ZARATE                SILVIA GONZALEZ      KNMAT2MT8JP516529
13326604701   CHAVEZ                EDITH                KNMAT2MT8HP588051
13105255001   FUENTES               CECILIA              5N1AR2MN7GC619775
13309866701   OLEARCZUK             ZENON                KNMAT2MT5HP607347
13159066201   BENIGNO SALGADO       JUAN CARLOS          5N1AT2MT8EC793948
90000425301   DARDASHTY             DAVID                5N1DL0MN7HC542247
90000423001   LUEDTKE               NANCY                KNMAT2MT2HP599983


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13241307301   TEJADA            EVELYN B                 JN8AS5MTXEW604910
13309078401   HERNANDEZ         LETICIA                  KNMAT2MT5HP561969
90000050801   RAMIREZ           MARTHA L                 5N1AT2MN4HC820536
13124210601   CUBILLAS          MARIA OLGA               5N1AT2MN7GC872497
13328378101   ARANA             LAURA E                  KNMAT2MT8JP607462
13203984901   SALAZAR           JORGE MARIO              5N1DR2MN0JC663170
13203579001   TREVINO           STEVEN                   5N1DR2MN0JC617483
13211092101   FREDY             ARNOLDO ESTRADA          5N1DR2MN4JC627322
90000043001   RUBALCAVA         CARLOS                   5N1AR2MN3FC703607
10258688301   DAVIS             BRIAN EMMETT             5N1AR2MMXFC689941
13273628701   CASTRO            MICHELLE LISA            JN8AT2MV0JW328096
13170139301   TOVAR DE          ZAMORANO MARIA T         5N1AT2MTXJC713754
90000418601   SUNDAR            DAVID                    5N1DR2MN6JC604740
90000417401   DUARTE            BOLIVAR                  JN8AT2MT6GW002956
13290337401   TOBAR             ALBA & NANCY             KNMAT2MT2GP657542
13094472501   BAUTISTA          ADOLFO                   5N1AR2MN1FC671241
13126276201   STRAUSS           MARK CHRISTOPHER         5N1AT2MNXGC884093
13195181601   GARCIA            MARIA LUCINDA            5N1DL0MN9HC518645
90000416201   WILLIAMS          CECILIA                  KNMAT2MT2HP598929
13087701301   CASE              ROSCOE S                 5N1AR2MM2GC649435
13214018401   JOHNSON           MARVETTA L               5N1DR2MN6HC666701
90000412501   MENDOZA           SONIA                    KNMAT2MT9GP642813
90000411301   INIGUEZ           XOCHITL                  5N1DL0MM2JC502154
13139629801   PHAM              TOM D                    5N1AT2MT3FC787136
13183547601   MEDINA            DALIA                    5N1DL0MM2JC502154
13113762101   CASTANEDA         FRANK                    5N1AT2ML3FC762995
13230075801   VALERA            MARGARITA                JN8AS5MT4EW102992
13214481501   VILLALVAZO        NANCY                    5N1DR2MN6HC911366
90000414901   MARTINEZ          JIMMY                    5N1AR2MNXFC701630
90000319401   CORBIERE          SAREE                    KNMAT2MT4JP540715
13185011801   KUMAR             AJIT                     5N1DL0MM5HC548068
90000406001   LOPEZ PEREZ       FRANCISCO                5N1AT2MT3GC870051
13306907201   GARCIA            JOSEFINA                 KNMAT2MT5GP610845
13233293001   MERCADO           LILIAN D                 JN8AS5MT5FW663137
90000044201   KARAMEH           FATEMAH                  5N1DL0MM1HC555972
13097420101   MEZA              MARICELA                 5N1AR2MN3FC620842
90000039901   SWALLEY           RONNIE                   5N1AR2MN0FC602900
13087163101   JAMISON           JOSHLYN S                5N1AR2MM1GC650284
13341654901   RAMIREZ           JOHN                     KNMAT2MV1GP687424
13135555701   PORTILLO          MARIA D                  5N1AT2MT2FC795065
13169709201   SANDHOLM          JESSICA L                5N1AT2MTXHC816490
13111933301   BUSTOS            JAVIER                   5N1AT2ML0EC804845
13273929001   CHAVEZ            IGNACIO L                JN8AT2MV1JW300727
90000209801   MEZA              HEVER                    5N1AR2MN4FC628464
13334698501   MARTIN            GINA                     KNMAT2MTXFP561057
13243408801   JONES             GINA L                   JN8AS5MV2FW753105
13157812101   LABUNG            GENEROSO                 5N1AT2MT7HC877134
13132741001   TOA               FAILELEI A               5N1AT2MT1GC844130
13207182401   FLORES            ERNESTO                  5N1DR2MN2JC606260
13125671301   DEPIZANO          MAREA                    5N1AT2MN9GC916760
12549176101   ACOSTA            ENRIQUE ROGELIO          KNMAT2MT8GP728310
13137015701   TUCKER            DONNA                    5N1AT2MT2GC865004
13258328801   MARTO             STEPHEN W & DONNA        JN8AT2MT5GW013169
13330847901   HARRISON          DIANE G                  KNMAT2MT9HP507123
12381630001   HUNTER II         DERRICK ROBERT           KNMAT2MT2HP550458


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90000210401   CARLTON               CYNTHIA                5N1AR2MN9FC702395
13350983701   HORLER                CLARANNE D             KNMAT2MV7JP540581
13149702901   BERMUDEZ              CINTHIA J              5N1AT2MT5HC850353
13349505001   BENHAM                CINDY LEE              KNMAT2MV6JP502310
13289950401   SANTOS                MARCOANTONIO M         KNMAT2MT2GP624783
13264820901   RENN                  CHARLES                JN8AT2MT7HW395495
13248962401   JOHNSON               RICHARD                JN8AT2MT1HW147095
13255575001   CASTANEDA             BARBARA S              JN8AT2MT4GW000901
13351215001   QUINN                 AUSTIN H               KNMAT2MV8FP512232
13303517701   LAWRENCE              ANTHONY                KNMAT2MT4HP559159
13097658101   DELGADO               LUIS A                 5N1AR2MN3FC646339
13260090001   BRELLENTHIN           ANNA M                 JN8AT2MT5JW451584
13204048701   PARTIDA               JESUS                  5N1DR2MN0JC671494
90000400901   JONES                 ADDISON                5N1DR2MNXHC669066
13199977101   OZUNA                 SOFIA M                5N1DR2MM6JC634487
13098152701   RUVALCABA             MARIA                  5N1AR2MN3FC703607
90000399601   SHERLOCK              CHARLES                5N1AT2MT2GC899749
13104243901   MUSCATELLO            JULIA N                5N1AR2MN7FC626188
90000042901   DALSILVA              TASHA MARIE            5N1DR2MN3JC669450
13094709001   CAPAGCUAN             MARLON T               5N1AR2MN1FC701824
13249541701   MURTAGH               DANIEL PATRICK         JN8AT2MT1HW395816
13301574901   MCMULLEN              NEIL                   KNMAT2MT4GP640743
13150502601   EDWARDS               ROBERT                 5N1AT2MT5JC805449
13324975001   SIAU                  JOE                    KNMAT2MT8GP713368
13164124401   QUEVEDO HERRERA       ALEX O                 5N1AT2MT9FC883109
13270439001   LOPEZ                 SALVADOR C             JN8AT2MT9JW459302
13334088001   SUFFELETTE            GUY TOD                KNMAT2MT9JP607275
13243506801   ROCKEL                DAVID BRUCE            JN8AS5MV3EW702890
13290740901   FUENTES               SOCORRO PUENTE         KNMAT2MT2GP699712
90000395901   JOHNSON               DANA                   JN8AS5MT0FW661246
13242876301   ANGELES               MIGUEL                 JN8AS5MV0EW706976
13232834301   MCILRATH              DANIEL CHARLES         JN8AS5MT5FW161728
13240689501   NUNEZ                 ANITA LUISA            JN8AS5MT9FW662251
13086337301   SIU                   ANA ASINC              5N1AR2MM0FC664367
13350135801   ALMARAZ               ALBA LUZ               KNMAT2MV7GP670711
13265950501   LAUGHLIN              LOREE                  JN8AT2MT8GW015997
13326541901   AREVALO               AARON                  KNMAT2MT8HP587000
13256178501   PEETE                 LINDA S                JN8AT2MT4HW132249
13234938301   DELREAL               LELA ANN               JN8AS5MT6FW653913
13199780401   & COREY BROWN         LAURITA TAFOYA         5N1DR2MM6HC667001
13301299201   ORTIZ                 LAURA                  KNMAT2MT4GP616538
12634771201   & ELENA CAMPBELL      CHRISTOPHER CROSLEY    KNMAT2MV0GP644421
11235715501   CURRY                 CARLA Y                5N1AT2MV8HC875085
90000214101   JACKSON               BRITTNEY               5N1DR2MMXJC637974
12046085301   SUTTON                BRENDA COLLETTE        JN8AT2MT7GW028241
11688177001   GREEN                 RONALD EARL & BRENDA   5N1DR2MN9HC905349
12348648801   ABBOTT                BRENDA JUANITA         KNMAT2MT1GP722994
10931310001   BONNIE JEAN WESTERN                          5N1AT2MV2HC881660
11915721401   HUNTER                BEVERLEY ANNE          JN8AS5MV8EW721287
12564099701   SMITH                 BETTY J                KNMAT2MT8JP618977
12222830301   PEFFLEY               BETH                   JN8AT2MV6HW267654
12905956001   NOONAN                CHRISTENE D            KNMAT2MV6JP601581
10211118201   COX                   BARBARA                5N1AR2MM6FC721333
11827551301   LACHGAR               ASMAA                  JN8AS5MV0EW203691
11140412501   TURNER                ANITA C                5N1AT2MV6JC784774


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12675196101   CAMPBELL           ANGELIA & CLARENCE       KNMAT2MV1GP638854
13042260501   LISI               ANDREW F                 KNMAT2MVXGP649643
11788661001   BROADEN            ANDREA R                 JN8AS5MT7FW164484
11892334101   MONTESDEOCA        AMY L                    JN8AS5MV6EW707341
13221513501   JONES              CONNIE J                 5N1DR2MNXHC669066
90000393501   ESCOBEDO           MANUELA                  KNMAT2MT5GP715885
90000396001   WILLIAMS           JUANITA                  5N1DR2MN7JC640419
13260656201   DUARTE             ROSA M                   JN8AT2MT6GW002956
13192779601   COLLINGS           MARYANN F                5N1DL0MN6HC522197
13242183501   SCOTT              PATRICE                  JN8AS5MTXFW164656
13302020401   ENNS               JUANITA & JEREMY         KNMAT2MT4GP687318
90000391101   TERAN              MICHELLE                 KNMAT2MTXHP599133
13307959401   ESCOBEDO           MIGUEL                   KNMAT2MT5GP715885
13319293301   ORELLANA           ANDREW STEVEN            KNMAT2MT7GP705231
13089950101   MENDEZ             JOSE H                   5N1AR2MM6GC664522
13300122201   KLINES             YVONE R                  KNMAT2MT3JP600192
13125087501   VALENZUELA         MARTHA ARACELI           5N1AT2MN8HC744996
13209591901   MUNOZ              CHARLENE KIMBERLY        5N1DR2MN3JC669450
13202613201   SANTOS             VERALICE                 5N1DR2MN0HC638389
13122341001   SORIANO            TANIA                    5N1AT2MN4HC752738
13111456601   KRISTEM            SRAVANI                  5N1AT2MK5FC856786
90000385601   RICHARDSON         KENN                     5N1AR2MN7FC642973
13187491301   MUBARAK            MOHAMED                  5N1DL0MMXHC524090
11736358301   TURNER             JUDY A                   JN8AS5MT3EW102952
13309216101   DOMINGUEZ          ADRIANA                  KNMAT2MT5HP570963
13130585201   GUERRERO           MARY ANNE                5N1AT2MT1EC756787
13294005001   JONES              KIMBERLEY A              KNMAT2MT2JP578394
13146570301   PACHECO            DORA LUZ                 5N1AT2MT4JC825255
13334128801   CARPENTER          ERIN N                   KNMAT2MT9JP613531
13228598801   PEREZ              BRENDA                   JN8AS5MT3EW608264
13198765301   PALOMBI            VICTOR                   5N1DR2MM4HC659169
13285257301   GARCIA             MARIA D                  KNMAT2MT1GP713180
13098277501   ALCARAZ            MARLENE                  5N1AR2MN3FC719970
13211754001   MGGOWAN            MESHA                    5N1DR2MN5HC621040
13162087301   ROBERTS            BRYAN                    5N1AT2MT8JC726339
13146704901   OCAMPO             VICTOR A                 5N1AT2MT5EC756680
90000386801   SPROWEL            DONNA                    5N1AT2MN2GC820999
90000022301   MARQUEZ            YESENIA                  5N1AR2MN0FC666337
10161038501   FISH               FRANCIS JAMES            5N1AR2MM2FC706425
13267468301   CASTANEDA          YOLANDA JACQUEZ          JN8AT2MT8HW399572
90000382001   RENDON             MARIA D ROCIO            5N1AR2MNXFC701630
13092467201   SAGRADO MARIE      ROSE BANGUIS             5N1AR2MN0FC646525
13123722601   CARBONARI          DAVID C                  5N1AT2MN6HC753745
90000023501   JONES              LINDA                    KNMAT2MT8HP576756
90000046601   WESTON             JULIETTE                 5N1DR2MN2JC646032
90000026001   GARCIA             ANSELMO                  KNMAT2MT1GP713180
13103134001   VARGAS JR          SABINO                   5N1AR2MN6FC691713
10838947901   ABID               ZAHEER                   5N1AT2MV0JC830356
10027360901   VIERRA             JAMES MANUEL             5N1AL0MM3GC502093
12542577601   RICCIARDI JR       MICHAEL A                KNMAT2MT8GP612296
13479272501   HATICE             CAN                      5N1AT2MV0FC793817
90000383201   HORNE              DARLENE                  JN8AT2MV6HW251471
11199210201   BURROWS            ROBERT A & ANITA         5N1AT2MV8EC797810
13272755901   CHACON             REBECA                   JN8AT2MTXJW451998
12125601701   STEWART            ROBERT DOUGLAS           JN8AT2MV1HW023538


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12479775101   BONDS              TAMMY                    KNMAT2MT6FP524815
13140332101   STILL              CHARLES                  5N1AT2MT3GC733028
13082520701   PANDHER            HARPRIT                  5N1AL0MN7FC542491
13269547901   HERNANDEZ          ISABEL LOPEZ             JN8AT2MT9HW154585
13204572201   TORRES             RAQUEL F                 5N1DR2MN1HC645433
90000373001   SALAZAR            TIFFANY                  5N1DR2MN7HC625008
13114321901   VENKATARAMAN       JAGADISH                 5N1AT2ML4EC860139
90000372801   FITZPATRICK        MEGAN                    5N1AR2MN4FC716835
13187565601   LOURENCO           JOSEPH                   5N1DL0MMXHC544498
90000368601   VARGAS             FRANCISCO                JN8AT2MT9JW455136
13201213301   DRINKARD           ANTONE JUSTIN            5N1DR2MM9HC620948
13337984001   PONCE              JOSE L                   KNMAT2MTXHP599133
13305861001   MASSOUDI           AMIR H                   KNMAT2MT4JP607877
13138301201   MOYA               ANTONIO                  5N1AT2MT2JC767503
13230706601   KISINI             SIMON                    JN8AS5MT4EW621041
13334602001   MITCHELL           PIERCE CHRISTOPHER       KNMAT2MTXFP556148
13253000401   AUTRY              BRUCE W                  JN8AT2MT2JW491640
90000367401   MOYA               SULEMA                   5N1AT2MT2JC767503
13186258301   CASTILLO           WALTER L                 5N1DL0MM7JC531360
90000365001   VIDES              SANDRA                   5N1AT2MT2GC736292
90000364901   IGLESIAS           OSCAR                    KNMAT2MV8FP512005
90000363701   REYES              SERGIO                   5N1AT2MT3EC867051
13335305901   GUERRA             RAQUEL                   KNMAT2MTXGP629889
11038419201   HOOPS              EMMETT J                 5N1AT2MV4JC772820
12836843301   PRINSEN            WAYNE GLEN               KNMAT2MV5GP628280
10988049301   BLASINGAME         NINA                     5N1AT2MV3JC787664
10134804601   CURRY              TIMOTHY J                5N1AR2MM0FC681248
11758236001   CASTANEDA          JOSE MARTIN              JN8AS5MT4FW671827
10286272201   LEWIS-ELLIS        LASENTA DENISE           5N1AR2MN2FC602204
11901842101   PRINE              JULIANNE & BUSTER        JN8AS5MV7EW702052
13000591501   SHERWOOD           JENNIFER E               KNMAT2MV9GP637807
10174225301   CONNOLLY           PAUL JAMES               5N1AR2MM3FC722035
10296354001   LEWIS-ELLIS        LASENTA DENISE           5N1AR2MN3FC602518
12532695601   SMITH              JERROLD LESTER           KNMAT2MT7JP574809
11963591401   FLYNN              CARROLL                  JN8AT2MT1HW153883
12692863001   GREATHOUSE         DOUGLAS P & LORETTA      KNMAT2MV1HP595571
11825010301   WOODHOUSE          MARK THOMAS              JN8AS5MTXFW661805
12599243901   LAPRATT            DEBORAH ANN              KNMAT2MTXGP598370
12932904601   CARSON             JOHN & STEVE             KNMAT2MV7HP549386
10971635801   UBL                GERALD & BONNIE          5N1AT2MV3GC895808
11737616401   MEAIGE             TONY D & SHERRY          JN8AS5MT3EW605414
13492073901   MENSACK            WILLIAM ARTHUR           5N1AT2MV2GC830593
13466673201   AUSTIN             RAHSHIDA JEAN            5N1AR2MM6FC657455
13509129901   CAMPBELL           LINDA M                  5N1AT2MV5GC868982
12045836601   SWANSON            DAVID JAMES              JN8AT2MT7GW026344
90000361301   PATHAN             ZAKIRHUSEN               5N1AT2MV6EC785753
11753866801   GONZALEZ           DANIEL JAMES             JN8AS5MT4FW159114
12050961101   JUAREZ             GABRIELA                 JN8AT2MT7HW392015
10436803201   EPSTEIN            ROBERT TERRY             5N1AT2MT0EC850448
13011612901   DORFMAN            JACOB HOWARD & ELANA     KNMAT2MV9HP518544
12637365601   MOORE              ROGER                    KNMAT2MV0GP669707
12993677701   PERRY              SHAUN F                  KNMAT2MV9FP554327
10609853601   RAMKARRAN          BIBI Z & BISRAM          5N1AT2MT5GC786684
10919754901   GAGNE              DEBRA CECILE             5N1AT2MV2GC873122
12374230401   SLANINA            THOMAS VAUGHN            KNMAT2MT2GP668167


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12129986701   MENZOR                 DEBRA                      JN8AT2MV1HW275273
11240972601   BURNS                  SHANNON B                  5N1AT2MV8JC769984
10159257701   COLEY                  CEDRIC AMORY               5N1AR2MM2FC676410
11644114801   ANDERSON               BETTY M                    5N1DR2MN4JC663527
12428034101   EDINS                  THOMAS C                   KNMAT2MT4GP610027
11023979901   LOMBARDO               VITO F                     5N1AT2MV4GC922711
12320089101   FILIPPELLI             JOSEPH M & MARYANN         KNMAT2MT0GP724882
11502111501   MEADOWS                LISA                       5N1DR2MM3HC643836
11925932101   TURNER                 ANNA M                     JN8AS5MV9EW720875
13345017001   DELAROSA               ROSANNA                    KNMAT2MV3HP559185
12289207001   JOHNSON                DIANNE PRISCILLA           JN8AT2MVXGW138668
10746239401   CALDWELL               WILLIE FRANKLIN            5N1AT2MT9HC775902
12004876001   & ANTHONY CARMICHAEL   QUINNETTE GAY              JN8AT2MT4HW140724
12648427201   BLIGHT                 CHARLEEN ANN               KNMAT2MV0HP555515
10200788301   JONES                  LARRY WALTER               5N1AR2MM5GC625923
10634624601   WEIGART                SHARON H                   5N1AT2MT6FC794582
12537487201   KING                   MICHAEL RUSSELL            KNMAT2MT8FP532849
11525363401   MARTIN                 WILLIAM DAVID              5N1DR2MM5HC627573
11289369701   FRY                    VONDA LYNN                 5N1AT2MV9JC731972
11257932201   COLON                  VICTOR A                   5N1AT2MV9FC801283
90000356001   COOK                   TAQUILLA                   5N1AR2MNXFC677507
11668052001   ALLISON                STEVEN JONATHON            5N1DR2MN7HC678694
12575071701   ENGLISH                SAMMY                      KNMAT2MT9GP681224
10259306101   LIU                    RONGQI                     5N1AR2MMXFC701165
10363958501   BLACKMON JR            ROGER                      5N1AR2MN9FC714773
10568903801   GRIFFITH               RANDALL KEITH & MILAGROS   5N1AT2MT4FC773374
11194235401   DELFINO                LOUISE M                   5N1AT2MV7JC828359
12736731701   LEE                    PAMELA JEAN                KNMAT2MV2JP522649
11467078001   & MIGUELINA CARVAJAL   NEURY PENA SANCHEZ         5N1DR2MM0HC679161
12308656501   BOUZ                   MIRNA                      KNMAT2MT0FP529511
11777000001   MOREHEAD               MATHEW WAYNE & MICHELLE    JN8AS5MT6FW161642
10184526101   DRUMMOND               MARITZA V                  5N1AR2MM4FC690616
11934331901   SWENSON                LYNN A                     JN8AS5MVXEW709884
11874953501   BROWN                  JOY BANKS                  JN8AS5MV4FW256153
10939619401   LITMAN                 DORIS                      5N1AT2MV2JC819908
13459309101   SMITH                  DONNA MARIE                5N1AR2MM0FC649142
11844682401   BOU                    KELLY GIGLIO               JN8AS5MV1FW751958
11181752301   WHETTEN                DENNIS MELVIN & KRISTINE   5N1AT2MV7HC817906
13480008401   & MORGAN D SHORE       PAULA ANNE BURNS           5N1AT2MV0FC892539
11802792001   DAVIE                  DAWN MARILYN               JN8AS5MT8FW664671
10920681201   CZERNIAWSKI            SOPHIE I                   5N1AT2MV2GC890194
12954319601   GRIMALDI-GUERRERO      G                          KNMAT2MV8FP573225
12992211001   LUNDGREN               MICHELE GODER              KNMAT2MV9FP537088
13110024501   ORTIZ                  ANDREW D                   5N1AR2MNXFC681492
90000353401   BECERRA                EVERETT & MICHELLE         KNMAT2MT6HP549278
13115711501   WILKS III              HENRY JAY                  5N1AT2ML6FC798874
90000349201   GALVAN                 JOSE                       5N1AR2MN1FC690761
13287309601   VALENZUELA             JOSE RAMON                 KNMAT2MT1HP616465
13111038001   ESTRADA                LEANNE M                   5N1AT2MK0FC795069
10727526001   BERNARD                MARY H                     5N1AT2MT9EC809901
13323086701   TRIPI                  MARIE                      KNMAT2MT8FP513119
13210048401   FLORIAN                SELVIN                     5N1DR2MN4HC638170
12915102601   RICHEY                 SARA KATHERINE             KNMAT2MV7FP590405
10667799801   DIPIERTO               GREGORY A                  5N1AT2MT7FC819442
13270536901   & ALBERTO MUNOZ        MICHSTICA G MOJARRO        JN8AT2MT9JW462667


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13211219001   & RACHEL PRO         JERRY D INMAN                5N1DR2MN4JC640698
10482612501   & AMBER VILLARREAL   BRANDON CHRISTOFER OCONNOR   5N1AT2MT1GC845603
90000215301   ROBERTS              ARMANDO                      KNMAT2MV3GP737451
12880836601   NOONAN               CHRISTENE D                  KNMAT2MV6GP659814
12533058301   SMITH AYUSO          ALINA                        KNMAT2MT7JP580545
10757354401   PERABELES            ALFONSO SIDARTA              5N1AT2MTXEC756674
11646750201   GOMEZ                ALEXANDERS                   5N1DR2MN5HC635519
11734900801   LOVELACE             R ALAN                       JN8AS5MT2FW667968
11275812501   ELTANBEDAWI          AHMEN N                      5N1AT2MV9GC888412
10420737101   WARSAME              ABDIGANI MOHAMED             5N1AT2MMXHC811573
13198676401   GODFREY              AARON K                      5N1DR2MM4HC627497
13292680501   HAYES                HARRIS LORRIE                KNMAT2MT2HP602011
13115407201   PUCKETT              REBECCA                      5N1AT2ML6EC755800
13225823701   HITT                 WYATT                        JN8AS5MT1FW651700
11895533001   WARD                 CHELSEA JEAN                 JN8AS5MV6FW252721
13306683601   SERRANO              VICTOR R                     KNMAT2MT5FP590112
13244047701   DEOCA TOMAS          MONTES                       JN8AS5MV5FW253388
13227912501   VINSON               TANYA                        JN8AS5MT2FW663399
13107749101   RODRIGUEZ            TANYA                        5N1AR2MN9FC626936
13166004401   SEBREE               SEAN                         5N1AT2MT9HC896669
13114643901   RAMOS                PIERRE                       5N1AT2ML4FC857128
90000216501   PARK                 PARKER                       JN8AS5MT7EW606372
90000217701   PARK                 PARKER                       JN8AS5MT4EW611318
13224430501   DOBSON               PAMELA                       JN8AS5MT0FW672277
13226179001   SNYDER               NARCIS NICOLE                JN8AS5MT1FW666441
11805382601   WILTERDING           CHARLES WAYNE                JN8AS5MT9EW601853
13177751801   ILAGAN               MARK                         5N1AT2MV6HC761506
13043057201   VOGT                 CHARLES G                    KNMAT2MVXGP657385
10634875901   BROOKS               CHARLES E                    5N1AT2MT6FC802230
11575727201   VANCE                CHAD                         5N1DR2MM9HC639743
13602214501   COUNTERMAN           THOMAS S & CELISA            KNMAT2MV0GP599920
13150264501   DAVILACIRNE          NOE P                        5N1AT2MT5JC762036
13520170601   BARKUS               LISA M & KEITH               5N1AT2MV7GC876145
13467952001   SEARS                MELANIE JEAN                 5N1AR2MM7FC663183
10691216101   FLOYD                PAULA                        5N1AT2MT7JC826707
10245574001   WILSON               GARY CARL                    5N1AR2MM9FC677506
13328929101   LEYVA                LUZ                          KNMAT2MT9FP554908
13228449201   TOMBIRI              MARY M                       JN8AS5MT3EW603646
13244329601   THOMPSON JR          MICHAEL                      JN8AS5MV6FW756329
13209799001   BARRIOS JR           ALFONSO                      5N1DR2MN4HC610482
13278522501   SANTOS FILHO         MILTON R                     KNMAT2MT0GP600837
90000351001   LARA                 SALVADOR                     KNMAT2MT6FP578809
13232149001   WILLIAMS             THREASA C                    JN8AS5MT5EW611120
13119460401   SANCHEZ              VICTOR EDGARDO               5N1AT2MN0GC868257
13280955201   HOPKINS              CAROLYN                      KNMAT2MT0HP574340
13163072601   HILDALGO             MARIA                        5N1AT2MT9EC817514
90000346701   PEREZ                IRENE                        JN8AT2MT7GW005848
13334174401   CUTHBERT             ANGELA                       KNMAT2MT9JP619085
13154952201   BRAVO                RENEE IZLE                   5N1AT2MT7EC792676
13346867701   HOPKINS              CAROLYN                      KNMAT2MV4JP553496
13148536201   HOPKINS              CAROLYN                      5N1AT2MT5GC784269
13229258001   ROSALES              LIDIA T                      JN8AS5MT3FW159007
13231738201   DION                 PATRICIA                     JN8AS5MT4FW673660
90000348001   MOLINA               HECTOR                       5N1AR2MN0GC624655
13346270501   VARELA               LINDA SUE                    KNMAT2MV4HP523733


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13154889001   ROMANI              HOLLY ELIZABETH                5N1AT2MT7EC777837
10312454801   GUERRERO            CARMEN FRANCES                 5N1AR2MN4FC712719
11121825101   ROATEN              BRANDON KEITH                  5N1AT2MV6GC850930
10213726201   CHAMBERS            CHRISTOPHER                    5N1AR2MM6GC636056
13338509701   BURGOS              CAROLYN P                      KNMAT2MTXJP517651
13241251201   RAMIREZ             CATHERINE V                    JN8AS5MTXEW603854
12512035701   & MELISSA KETCHEM   WANDA JEAN THURMAN             KNMAT2MT7FP587860
10445715601   SOWERS              ROBERT JAMES & DEBORAH         5N1AT2MT0GC752166
90000219001   NGUYEN              JENNIFER                       5N1AT2MV9FC848216
10862056601   BARTON              DONALD RON                     5N1AT2MV1GC762948
11052087701   MOORE               LARRY J                        5N1AT2MV5FC752776
90000220701   HOUCK               SHERRI                         5N1AT2MV5HC762212
10803268101   HOUCK               SHERRI LYNNE LOEHRER & DAVID   5N1AT2MV0FC829859
90000218901   AZIZ                ABDOOL                         KNMAT2MV1GP694888
12349215401   RICE                YVETTE ANGELA                  KNMAT2MT1GP731761
13445316501   LUCERO              VERONICA CATALINA              KNMAT2MV9GP685565
11763479701   LEWIS               TIFFANY                        JN8AS5MT5EW623574
10500626901   PINICK              JIMMY N & LINDA                5N1AT2MT2EC820223
12130172201   WOZNY               DOMENICA J                     JN8AT2MV1HW276522
13017255801   HOLMES              RICKEY JEROME & VIRGINIA       KNMAT2MV9HP583460
12103286301   RIEBENFELD          MICHAEL W                      JN8AT2MV0GW153762
10380335001   CASTILLO            JOSE A                         5N1AT2MK1EC816803
11695929001   JONES               COURTNEY                       5N1DR2MNXHC668855
13551308001   OMSTEAD WAGNER      MARIA ERMINIA & MICHAEL        5N1DR2MM6HC607011
10933583101   HUFF                ROBERT WILLIAM                 5N1AT2MV2JC726953
10738765701   JONES               DAISY MILLICENT                5N1AT2MT9GC770312
12672915301   CONLY               TESS MACKENZIE & ROBERT        KNMAT2MV1GP614098
11281767101   NAUMAN              VICTORIA                       5N1AT2MV9HC798811
12560634501   CARLIE              KEITH                          KNMAT2MT8JP556948
10258301801   HARRISON            MELISSA                        5N1AR2MMXFC684416
12593616301   BECKER              BARBARA BETKA                  KNMAT2MTXFP510853
11203570001   MARTIN              CAROLYN J                      5N1AT2MV8EC865989
90000344301   MADRIGEL            DANIEL                         5N1AR2MN4FC604830
13200028301   BARTELL             BONNIE LEA & DENNIS            5N1DR2MM6JC661057
13209421601   CROWNOVER           DIRK                           5N1DR2MN3JC646184
12459835301   TRUONG              KATINA                         KNMAT2MT5GP667479
11893581101   ADDOW               MALLACE KOFI                   JN8AS5MV6EW714659
11175632701   DELGADO             ANA A                          5N1AT2MV7GC916272
10598136901   PLUNKETT            HEATHER N                      5N1AT2MT5EC823391
11080705401   SOLIDAY             RITA N                         5N1AT2MV5HC819458
12826553001   DUBOSE              BERNADETTE                     KNMAT2MV5FP507506
10146405801   WALLER              CINDA MARIE                    5N1AR2MM1FC666046
10546403001   THOMAS              JASON L                        5N1AT2MT3GC818130
12267777801   DOLAND              HAZEL D                        JN8AT2MV8JW343705
12889852501   LUNSFORD            KIMBERLEE L                    KNMAT2MV6HP520946
12956731001   MANNEN              CHERISSE & JAMES               KNMAT2MV8GP603213
12756972801   ROZA JR             ANDREW JOHN                    KNMAT2MV3GP645210
12797484201   & STACEY RICE       PENNY R OLIVER                 KNMAT2MV4GP644406
12911983001   CONNOLLY            DALE                           KNMAT2MV7FP549711
11976164601   DAVIS               JIMMY R                        JN8AT2MT2HW140575
12994624201   DOLAND              HAZEL D                        KNMAT2MV9FP567126
90000343101   WHITEHEAD           MELANIE                        KNMAT2MV6GP722829
11499980601   LITTRELL            SHERRILL JEAN                  5N1DR2MM3HC612991
11924467601   SOLOMON             CALEB NICHOLAS                 JN8AS5MV9EW712632
13200033701   ROGINA              MALLORIE MARIE                 5N1DR2MM6JC665304


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11503088801   KONICKI             JENNIFER JEAN              5N1DR2MM3HC659809
11926122401   WILSON              VALERIE                    JN8AS5MV9EW721721
12578868001   ANGUIANO            CLARA TERESA               KNMAT2MT9HP509552
10232298301   MOE                 CONNIE LYNN                5N1AR2MM8FC659658
10866204401   GARWOOD             PAMELA JEAN                5N1AT2MV1GC822999
12691852101   HERRIN              JOHN WINTON                KNMAT2MV1HP582917
11072072601   HESER               DELORES M                  5N1AT2MV5GC865693
12734911001   LUWE                PATRICIA YOUNG & PATRICK   KNMAT2MV2HP618713
12301072001   MARTIN              SUSAN PITTMAN              JN8AT2MVXJW300368
90000464201   MARTNER             BAUDELIO                   5N1AR2MN0FC620877
13278593601   SANDOVAL            VICTOR M                   KNMAT2MT0GP608307
13083721001   DEB                 SATYAJIT                   5N1AL0MN8FC550700
13004558501   SHAFFER             ROBERT CARL                KNMAT2MV9GP679197
13104552001   KOUAMSIPA           WILLIAM                    5N1AR2MN7FC666075
10810444801   TAIT                LARA COLE & ASHLEY         5N1AT2MV0GC750340
11219656101   WORLEY              ROBERT WAYNE & CHRISTINA   5N1AT2MV8GC791167
10435206101   GREGSON             DEBORAH FISHER             5N1AT2MT0EC814243
10609781701   KINCAIDE            DONALD RAY                 5N1AT2MT5GC785504
13223946201   HOWELL              JENISE LYNN                JN8AS5MT0FW653793
13290015401   SANCHEZ             EDILBERTO                  KNMAT2MT2GP629630
10994775701   PATTON              AMANDA M                   5N1AT2MV4EC784116
13177882101   CORTEZ              SAMVIR                     5N1AT2MV6JC708942
10255685401   WITT                DANIEL LEE                 5N1AR2MMXFC641324
12569451901   BUNKER              DEBRA JEAN                 KNMAT2MT9FP581025
90000225601   GILLIE              WILLIAM                    5N1AT2MV5EC750623
11634286901   LEACH               ANDREA R & SEAN            5N1DR2MN3JC654642
11273318901   WINE                LAURA JEAN                 5N1AT2MV9GC842417
11848379101   & MELISSA HILLIER   MATTHEW ANGELO RODRIGUES   JN8AS5MV2EW202154
10798242001   SPARKS              JANET                      5N1AT2MV0FC756430
12306380201   FRASER              JOHN M                     JN8AT2MVXJW352079
11488095501   URBAN               MICHAEL A                  5N1DR2MM2HC619835
12190308401   KAYCE BRIANS        JAMES DAVIS                JN8AT2MV4JW316971
11487856001   COCO                PAUL JOSEPH                5N1DR2MM2HC616983
10330754001   HERNANDEZ           MARIO ALFREDO & EVA        5N1AR2MN6FC670277
12893780401   DECKER              COREY JAMES                KNMAT2MV6HP565479
11724288301   IRVIN               MARGALENE DANIELS          JN8AS5MT1FW674071
12547622001   WELLS               GERALD ANDREW              KNMAT2MT8GP702807
11177661201   GORSE               WILLIAM & GEORGIA          5N1AT2MV7HC749767
12473436401   RICE                ELIZBETH NICOLE            KNMAT2MT5JP534549
90000228101   RAITER              EILEEN                     KNMAT2MT8GP620527
12682715101   LEON                DULCE MARIA                KNMAT2MV1GP716405
11649979501   STEWARD             JEAN BARRETT & DONALD      5N1DR2MN5HC698491
11201643101   POWE                DIANE                      5N1AT2MV8EC838758
11921834301   HANSCOM             DIANE L                    JN8AS5MV9EW201759
13058632801   MANIYAR             DHIREN R                   KNMAT2MVXHP594323
11816452101   RATKE               KENNETH EDWARD & PAMELA    JN8AS5MTXEW600159
10297138901   HARVEY              DENISE                     5N1AR2MN3FC615687
13553980801   RIVERA              DANNY                      5N1DR2MM8HC662060
13581554001   DALE                BAILEY JR                  JN8AT2MV3HW010791
12402403801   SILCOX              JEREMY & COURTNEY          KNMAT2MT3GP663513
12401806301   LANTHIER            BRENT CHARLES              KNMAT2MT3GP652527
11318353701   MAY                 THERESA I                  5N1AT2MVXGC763807
12259025901   BRIESEMEISTER       TAMMY                      JN8AT2MV8HW257093
10979568401   GIPSON              SANDRA                     5N1AT2MV3HC837862
11994406601   JOHNSON             KEN & JOYCELYN             JN8AT2MT3HW397826


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11935631401   COLEMAN            ROSETTA L                JN8AS5MVXEW717211
10281996801   CASTELLANOS        RONALD O                 5N1AR2MN1FC716940
10373464801   COYLE              CLAUDIA & ROBERT         5N1AR2MNXFC703846
11625985101   HARGRAVES          DIANE SIBSON & RICHARD   5N1DR2MN3HC601594
90000229301   COPELAND           PHILLIP                  5N1DR2MN2HC638667
90000118501   LOPEZ              PAULO                    5N1AT2MV1JC756414
12466728401   HORNE              PAMELA D                 KNMAT2MT5HP544587
12472121701   HILKE              OLIVIA & JEFFREY         KNMAT2MT5JP514172
10330524501   MANUEL             STEVEN W & KATHRYN       5N1AR2MN6FC666083
11118346701   ESPINOSA           NICOMEDE S               5N1AT2MV6GC796660
11930094101   ESPARZA            NANCY MARIE              JN8AS5MV9FW760603
11269101801   CESAR              MITCHELL JOSEPH          5N1AT2MV9GC781764
12345064001   THOMAS JR          MILFORD                  KNMAT2MT1GP654356
90000232301   NASR               MIKE                     KNMAT2MT1FP590706
11346426501   JENKINS            MICHELLE C               5N1AT2MVXJC842756
10242954601   COHEN              IRVING MATTHEW           5N1AR2MM9FC634784
12451918001   SPARKS             ERNEST & MARY            KNMAT2MT5FP533313
12593344701   BLACK              MARY & ROBERT            KNMAT2MTXFP506849
12637919101   AYALA              MARY E                   KNMAT2MV0GP675443
10418039001   CALDERON           ANGEL L                  5N1AT2MM7GC874290
10790645401   LUTZWEIT           DAVID A                  5N1AT2MV0EC767801
11483660701   WOLFE              SUNNI BETH               5N1DR2MM1JC632114
10528778701   NIXON              HELEN J & HOWARD         5N1AT2MT2JC812441
12648438701   JONES              FELECIA                  KNMAT2MV0HP555675
10421149001   LEACH              TERESA RENEE & LARRY     5N1AT2MN0GC850163
11172035701   YOUNG              CRYSTAL L                5N1AT2MV7GC842545
12692225101   QUERY              ROBERT H                 KNMAT2MV1HP586899
13060851801   KING               TONYA MICHELE            KNMAT2MVXJP503945
12963885701   TUGGLE             VICKIE                   KNMAT2MV8GP678476
11778171001   PADILLA            ELSIE                    JN8AS5MT6FW654060
13636249701   WEINSTOCK          JERRY ALLAN              KNMAT2MV7JP616655
13315860301   BRISCO             TIFFANY                  KNMAT2MT6JP506887
13236407401   ALTER              JONATHAN P               JN8AS5MT7FW156191
13225427001   GRAESSLEY          LEANN MARIE              JN8AS5MT1FW151925
11871224001   HALL               MEREDITH L               JN8AS5MV4EW707709
12604911701   LABOISSONNIERE     MARK A                   KNMAT2MTXGP699439
10997700201   LONDINO            RICHARD J                5N1AT2MV4EC828194
13224241201   PEREZ              WILLIAM                  JN8AS5MT0FW665121
13318191101   ALVAREZ            AGUSTIN                  KNMAT2MT7GP594941
11521683201   BALLENSKY          MARTHA ANDRES & GORDON   5N1DR2MM4JC650106
90000330301   MENDEZ             JAIRO                    5N1AR2MM6FC659531
90000334001   IBARRA             MARIA                    5N1AR2MN7GC652789
13252279201   CRUZ               RAMIRO                   JN8AT2MT2HW399664
13093047701   FARES              NAJWA                    5N1AR2MN0FC711891
13210516001   DELATORRE          CARLOS GERARDO           5N1DR2MN4HC683786
90000314501   CRUZ FAVELA        HERIBERTO                JN8AS5MT3EW608264
90000317001   REYES              JOSEPH                   JN8AS5MT1EW619554
13076965401   MATLOUBI           NAZANIN                  5N1AL0MN1GC504336
90000318201   FOLLIS             CAROLYN                  JN8AS5MT3FW650760
13138858701   PRASAD             SATYA                    5N1AT2MT3EC770707
13285872101   MORENO             BERLINDA                 KNMAT2MT1HP521257
13099372401   NEIGHBORS          KANIKO                   5N1AR2MN4FC663361
90000320001   JAYASINGHE         LAKMINI                  JN8AS5MT2FW652399
13193551301   CHROMAN            JONI                     5N1DL0MN7HC517851
90000204901   DANDOUCH           WISSAM                   KNMAT2MT9GP708003


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90000205001   BENEFIELD              DANIEL                   5N1DR2MN9JC662258
90000312101   AHAIWE                 DONALD                   KNMAT2MT5FP549835
13212698901   IBARRA                 MANUEL ZERMENO           5N1DR2MN5HC910936
13237107801   DAVIS                  KIMBERLY A               JN8AS5MT7FW668887
13207706101   MONTOYA                NOE                      5N1DR2MN2JC663929
90000310801   MARTINEZ               JOSE                     5N1AR2MN8FC670569
13104456401   JUAREZ                 ALFONZO MENDEZ           5N1AR2MN7FC651771
90000309101   RUBI MONTOYA           CHRISTIAN                5N1DR2MN2JC663929
90000308001   VIEGAS                 NALINI                   5N1DR2MN3HC619206
12025687301   WOODS                  KATHY                    JN8AT2MT5JW459510
10495782701   SOLBY                  JULIA M                  5N1AT2MT1JC801981
12130393701   LAHAY                  JUDITH G                 JN8AT2MV1HW278142
11798180101   JALLOH                 JENEBA                   JN8AS5MT8FW151663
12971771001   CRAMER                 BETTE LYNNE              KNMAT2MV8HP527395
90000117301   MCASSEY                TYLER                    5N1AT2MT6HC821606
13092728401   HILL                   CHRISTOPHER              5N1AR2MN0FC675426
13156057801   HAMILTON               JILL R                   5N1AT2MT7FC883447
13230510001   WHITTLE                ELSIE GWYN               JN8AS5MT4EW613974
13346534201   FERGUSON               TRACY L                  KNMAT2MV4HP575234
13175427001   WILLIAMSON             SUE R                    5N1AT2MV4FC850343
13242368601   & KATRYTAE MCCRAW      STEPHEN DOUGLAS NUNLEY   JN8AS5MTXFW654613
13100217001   WILLIAMS               SHIRLEY MARIE            5N1AR2MN4GC634248
13136577001   MORAN                  SERGIO                   5N1AT2MT2GC788392
10391676301   WALKER                 BENNETT J & ALLISON      5N1AT2MK9EC753207
13094136001   HERNANDEZ              NELLY S & SAMUEL         5N1AR2MN1FC638112
90000112401   RYAN                   ROLLIN                   5N1AT2MT0HC792703
13093196201   SINGH                  RODNEY NIRAJ             5N1AR2MN0GC604213
90000113601   OROZCO                 REYNALDO                 JN8AS5MT1FW663491
13133700201   & RAVI BASNET          PRAGYA NEUPANE           5N1AT2MT1HC876092
13102093601   GIBSON                 PATRICIA                 5N1AR2MN5GC652080
13229825901   ROMO                   NUVIA RUBIO              JN8AS5MT3FW667154
13224107901   & MONICA URBIN         MARLENE G RIGOLI         JN8AS5MT0FW661019
12731786701   BELL JR                BENJAMIN H               KNMAT2MV2HP579668
13235898001   BUTLER                 MICHELE J                JN8AS5MT7EW613788
13253927501   POWELL                 MELINDA A & WILLIAM      JN8AT2MT3HW140472
13258781601   MARTINEZ               MARCO                    JN8AT2MT5HW135886
13261481901   GARCIA JR              LEONARD                  JN8AT2MT6HW141275
13267431201   COVINGTON              LENETTA GENEVA           JN8AT2MT8HW398289
13101830901   PUGH                   KRASHAWN JENAE           5N1AR2MN5GC618009
13212000801   NAVAS                  KARLA R                  5N1DR2MN5HC645192
13318386501   BLAS                   KARL ROBERT              KNMAT2MT7GP613102
13227972101   & ADRIANNA MELENDRES   JOSE TREJO               JN8AS5MT2FW665105
13308046801   LINDSEY                JOANN                    KNMAT2MT5GP730113
90000108201   VAZQUEZ                ISAAC                    5N1AT2MV5FC791707
13329565501   CHRISTENSEN            ERIN                     KNMAT2MT9GP613599
13306395101   JIMENEZ                ELIZABETH                KNMAT2MT5FP559085
13087626401   LOVETT                 DANIEL PAUL & LUCINDA    5N1AR2MM2GC628715
90000106901   PARTIDA                BRENDA                   5N1DR2MN8HC912132
13245451801   DIAZ                   BRANDY L                 JN8AT2MT0GW003861
13234542001   WILLIAMS               BLESSIN                  JN8AS5MT6FW153718
13238027401   MUSICKVINYARD          ANN                      JN8AS5MT8EW622435
13275447201   & OLIVER HARRELL JR    ANN AGNEW                JN8AT2MV5HW264986
13351280001   DURAN                  BRANDIE L                KNMAT2MV8FP554870
12086707201   FONSECA                ALFREDO                  JN8AT2MTXGW010994
90000104501   BARRY                  LINDA                    KNMAT2MV6HP585523


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90000105701   GROSS                 RYAN                        5N1AT2MV7EC777337
13140920701   MEHRPOUYAN            YOKHEHBET                   5N1AT2MT3GC845005
13300692001   ALVIDREZ              JEREMIAH M                  KNMAT2MT4FP554900
11818357601   WALLACE               HEATHER LYNN                JN8AS5MTXEW611968
12324593001   WOOTEN                CHARUNDA N                  KNMAT2MT0HP551933
11122392101   MCCOLLUM              CHARLEEN                    5N1AT2MV6GC862219
11591069401   GREEN                 BASHAN J                    5N1DR2MMXHC690765
12875028501   MEEHAN                ALICE W                     KNMAT2MV6GP597248
13208761301   ORTIZ                 JOSE NOE                    5N1DR2MN3HC697372
13352850901   LIPSCOMB              LAWRENCE & JESSICA          KNMAT2MV9GP665901
13150225601   MARTIN                PATRICIA ANN & JAMES        5N1AT2MT5JC753692
13097111001   & DONNA HOUSTON       THEO JAYLYNN MOUTON         5N1AR2MN2GC662209
10669900301   HENDRICKS             ERIK THOMAS                 5N1AT2MT7FC876465
13448494001   BENITEZ               ROCELIN DURANO              5N1AT2MT2FC904737
12897308001   TORRES                GLORIA                      KNMAT2MV6HP608363
13273863601   DANKWORTH             ZEE R                       JN8AT2MV1HW268386
13179456501   AMBRECHT              ANNCLAIRE MENDO & WILLIAM   5N1AT2MV8FC844657
13208940301   ONTIVEROS             VICTOR M                    5N1DR2MN3HC912023
13159271301   FAROL                 VERONICA R                  5N1AT2MT8EC833400
13122144901   & VANESSA HENDERSON   CLARA LAVENDER              5N1AT2MN4GC867368
11809250901   BUN                   TUAN                        JN8AS5MT9EW625439
13242339001   NGUYEN                THANG Q                     JN8AS5MTXFW653445
13322191001   TETREAULT             TEULA R                     KNMAT2MT7JP554592
10723003301   PAYTON                GARY LYNN                   5N1AT2MT8JC801508
13216929001   HANFORD               TERRIA CHANTEL              5N1DR2MN7JC660962
90000101001   SCHOONOVER            STEVE                       JN8AT2MT1HW382824
13304252201   GROSSMAN              STACY L                     KNMAT2MT4HP605654
13212631001   HUDSON WILLIAMS       SHINEEN N                   5N1DR2MN5HC904523
13241486701   HAYDEN                SHERRIE L                   JN8AS5MTXEW613073
13222837301   DARO                  SHERI G                     JN8AS5MT0EW602423
13091164101   BURGARA               SHAUNA M                    5N1AR2MM9FC663198
13180869201   PECK                  SEAN R                      5N1AT2MV9HC754680
13282549101   OCON                  SARITA                      KNMAT2MT0JP560069
13646605901   TRUESDALE             DEON                        KNMAT2MVXGP660562
13106363701   SABINO                R MARTINEZ                  5N1AR2MN8FC670569
13237988001   PERRY                 TERESA                      JN8AS5MT8EW620751
11743493001   FOLLIS                ROY D                       JN8AS5MT3FW650760
13261333501   ESPINA EILENE         E JIMENEZ                   JN8AT2MT6HW134682
13105839301   GARCIA                ELVIRA                      5N1AR2MN8FC611974
90000195101   VITELA                GLORIA                      JN8AT2MT6HW149747
13225181401   REYES                 BARBARITA                   JN8AS5MT1EW619554
90000194001   YOUSSEFIZAD           SAEID                       5N1AL0MN1GC504336
13337531601   EGAN                  WILLIAM EDWARD              KNMAT2MTXHP569808
13302943801   BALTIERREZ            LUIS R                      KNMAT2MT4HP520829
13146752901   HICKS                 BRYAN                       5N1AT2MT5EC763516
90000196301   FLORES SANDOVAL       CHRISTIAN                   5N1DR2MN2HC639995
13227633101   JAYASINGHE            DHISHAL P                   JN8AS5MT2FW652399
13137564701   TAYLOR                ERIC A                      5N1AT2MT2HC816368
90000197501   MONTOYA               RODOLFO                     5N1DR2MN2JC663929
90000202501   RANEY                 SHAWNA                      5N1DR2MN0HC610205
13149990701   CASIANO               JESSIE                      5N1AT2MT5JC716643
90000199901   MADSEN                ERIKA                       KNMAT2MT0FP536894
13088109001   KENNEY                COURTNEY C                  5N1AR2MM3GC610515
90000193801   JENNING               JARDON                      5N1AT2MT0EC763522
13152843901   VALLE                 MAYRA DEL                   5N1AT2MT6GC842356


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90000192601   HERNANDEZ                SYLVIA                      5N1AT2MT3HC805587
90000191401   HERNANDEZ                JORDI                       5N1AT2MT3HC805587
90000190201   ESPANA                   GABRIEL                     5N1DR2MN0JC663086
13095858001   PAEZ                     EMMA                        5N1AR2MN2FC636935
13328900001   GUEDES                   SARA D                      KNMAT2MT9FP553726
13165353201   DICKERSON                ROY & DEBRA LEE             5N1AT2MT9HC745315
13097628301   GIUSTO                   ROSSETTI CHRISTINA          5N1AR2MN3FC643487
13227388301   LEDEZMA                  ROSA MARIA                  JN8AS5MT2FW159385
13291196601   ZITSMAN                  CHERYL ILEEN & ROBERT       KNMAT2MT2HP509537
13215046301   LEDEZMA                  ROBERT F                    5N1DR2MN6JC660385
13338044001   SMITH                    RICHIE A                    KNMAT2MTXHP604881
13162505601   ARAGON                   RAUL A                      5N1AT2MT8JC803226
11618498001   ARMENDARIZ               DAVID                       5N1DR2MN2HC641536
13226065701   BUENROSTRO               RAMIRO                      JN8AS5MT1FW661238
13002543401   MCMULLEN                 DARREN D                    KNMAT2MV9GP657619
12927288701   THOMAS                   DANIELLE A                  KNMAT2MV7GP720538
11734051001   WILLIAMS                 CYNTHIA DEBORAH             JN8AS5MT2FW662687
11268776301   & CHRISTINE OCKENHOUSE   RAYMOND ALBERT MCCAIN SR    5N1AT2MV9GC776189
11999193701   KATZ                     MATTHEW S                   JN8AT2MT3JW491002
12047327601   WARD                     LINDA MARY                  JN8AT2MT7HW137171
10808694001   CALABRESE                LINDA M                     5N1AT2MV0FC922607
12315460101   WAINIE                   LIANDE                      KNMAT2MT0GP639878
12521999401   PEREZ                    LESLEE                      KNMAT2MT7HP520839
12808714601   & CHARLES DELONEY        LEANN S THOMAS              KNMAT2MV4HP526065
12801021601   PRIMOUS                  KRYSTAL                     KNMAT2MV4GP679768
12601810801   WARNER                   KRISTINA                    KNMAT2MTXGP640469
13465866801   TRICE                    KEVIN J & NANCY             5N1AR2MM5FC720223
90000098301   JOHNSON                  KENNETH                     JN8AS5MV8FW251148
12794634201   LAWRENCE                 MARY ANN                    KNMAT2MV4GP613821
13008886901   STANTLIFF                KEITH HERBERT & LINDA       KNMAT2MV9GP724669
10474219701   STEELMAN                 KATELYN BROOKE & PAVILION   5N1AT2MT1FC848578
12991147101   YEAGER-COSTOSO           KAREN                       KNMAT2MV9FP526222
10865959801   FERMIN                   JULIO A                     5N1AT2MV1GC818533
11946179101   SWILLEY                  JOHNNY                      JN8AT2MT0GW028677
90000094601   LEE                      JOHNNY                      5N1AT2MV2GC769746
11647635701   JABLONSKI                JOHN                        5N1DR2MN5HC652823
10253242401   HOLT                     JOELLEN                     5N1AR2MMXFC605469
10796489201   CASTRO                   JENNY ANABEL                5N1AT2MV0EC855022
13632707201   VOLTERMAN                JEANETTE E                  KNMAT2MV7FP579890
12542836401   HENSLEY                  JAMIE L & AMBER             KNMAT2MT8GP616574
90000093401   STEELE                   JAMES                       5N1AT2MT5EC800399
11815592101   GUILLORY                 IDA CORMIER                 JN8AS5MT9FW674786
11045979901   CARPENTER                HEATHER                     5N1AT2MV5EC782715
12144559801   BUTLER                   GARY KEITH                  JN8AT2MV2HW024150
10595016601   & ESTHER LEACH           JOAQUIN APONTE JR           5N1AT2MT5EC754010
12188051501   WEIFFENBACH              ERICKA M                    JN8AT2MV4JW301645
11879788801   TAUNTON                  EDWARD L                    JN8AS5MV5EW200978
10584250301   WILLIAMS                 DANNIE JOE & DOROTHY        5N1AT2MT4HC783180
13579458401   COOPER III               DONALD S                    JN8AT2MV2HW014458
13492907001   PAVLICK                  MARYLOU                     5N1AT2MV2HC749546
11243295501   BARNES                   DIANE C                     5N1AT2MV8JC804362
10208760001   & ELENA CAMPBELL         DERYL ALBRECHT              5N1AR2MM6FC684350
12343252201   MCCOY                    DENISE                      KNMAT2MT1GP621681
10258290701   PASCHAL                  DEBRA MCDANIEL              5N1AR2MMXFC684304
12524177001   FITZSIMMONS              DEBRA ANN & JEFFREY         KNMAT2MT7HP551279


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10763265201   VILLANUEVA          DEBBIE ROWENA               5N1AT2MTXFC769572
10568554901   HEISLER             DARREL & BECKY              5N1AT2MT4FC765596
11271663501   MATTESON            CRAIG STANTON               5N1AT2MV9GC815167
11914455401   & THERESA DICKSON   CORRINE MARIE JOHNSON       JN8AS5MV8EW714629
90000091001   LEWIS               CHRISTY                     JN8AT2MT4HW390996
11731419501   DUNSTON             MARIE DELAPINA              JN8AS5MT2FW161654
12108467001   DERHAM              LORINE A                    JN8AT2MV0HW256150
11837618401   ALVARADOCASTILLO    LA                          JN8AS5MV1EW200993
11871351601   SHACKETT            LISA A & JORDAN             JN8AS5MV4EW708388
10742417401   POWELL              LINDSEY LEE                 5N1AT2MT9GC855182
11834211301   JENSEN              ROBERT P                    JN8AS5MV0FW752597
13484281901   CRUZ                WANDA E & WILLIAM           5N1AT2MV1EC854770
10330758801   HELLER              TODD HAMILTON               5N1AR2MN6FC670375
10969429601   WITT                DAVID R & THREASIA          5N1AT2MV3GC857656
12160386601   BRIGHTWELL          TERRY LEE                   JN8AT2MV3HW004778
10602347001   MAY                 TEENA                       5N1AT2MT5FC800047
12628254701   TAGGERT             MORROW                      KNMAT2MV0FP569637
11759372201   LUDGOOD             STOKES                      JN8AS5MT5EW104251
90000089201   HADDEN              TERRY                       JN8AS5MT2FW666206
90000090901   BOYLAN              SHERI                       JN8AS5MV3EW711394
12922907601   MCDANIEL            LISA DAWN                   KNMAT2MV7GP674791
10468420301   GORDON              SHARON M                    5N1AT2MT1EC827664
13001272501   JONES               SANDRA F                    KNMAT2MV9GP644918
10164620301   ALDOGOM             SAMER N                     5N1AR2MM2GC636314
11806992501   HASSEN              RYAN JEROME                 JN8AS5MT9EW612061
11297700501   GOODEN              ROYSTON GREGORY             5N1AT2MVXEC762993
11760556601   ALBERT              QUANZA K                    JN8AS5MT5EW606161
90000088001   CODR                NICOLE                      5N1DR2MM8JC654885
10247496501   PRICE               MICHELLE LEIGH              5N1AR2MM9FC709984
13675990701   BIRARD              JEFFREY HAROLD & MICHELLE   KNMAT2MV7GP653715
12875662701   RIEBENFELD          MICHAEL W                   KNMAT2MV6GP605378
12614502701   PADGETT             KENNETH H                   KNMAT2MTXHP615881
10948519101   WILLIAMS            MELANIE W                   5N1AT2MV3EC855743
12669107101   BERNARDINO          MEGAN JILLIAN               KNMAT2MV1FP566939
10800318801   RHODES              MARY P                      5N1AT2MV0FC786138
11473421501   GAYHART             MARIKA A                    5N1DR2MM0JC663774
12360461801   YOUNG               LEKESHA                     KNMAT2MT1JP555480
13053271001   BACK                KIMBERLY ANNE               KNMAT2MVXHP532145
13602351401   GRAY                KIMBERLY ANNETTE            KNMAT2MV0GP609992
10247104601   NEWTON              KAREN SUE                   5N1AR2MM9FC704767
12533207501   RODRIGUEZ           JULIO JOHN                  KNMAT2MT7JP582716
13563327801   WESCOTT             JULIE                       JN8AS5MV3EW717518
12753100201   LANE                ISAIAH                      KNMAT2MV3GP603474
11760280201   PRINCE              JULIA                       JN8AS5MT5EW604510
12034838001   COATS               JOYCE A                     JN8AT2MT6HW152292
11128385101   BORGES              JOSEPH                      5N1AT2MV6HC771341
13460345001   SHREM               JONATHAN AVI                5N1AR2MM1FC624671
11733708001   SCHOLTEN            JON EVERT                   JN8AS5MT2FW660566
12694490801   LEWIS               JEFFREY D                   KNMAT2MV1HP617312
12537347801   & GWEN PERKINS      JAMES DARYL BECKA           KNMAT2MT8FP530633
12284012401   VALDERRAMA          ISMAEL A                    JN8AT2MV9JW312687
10729526001   KIRKPATRICK         HOWARD FREDRICK             5N1AT2MT9EC855826
12919681201   CLARK               DANNY A & TONY              KNMAT2MV7GP642181
12748450401   BASS                ROMONICA L                  KNMAT2MV3FP546157
10275000201   CROSBY              TAMMY DENISE & KENNETH      5N1AR2MN0GC659454


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10454048501   JOHNSON            YVETTE DIANE              5N1AT2MT0HC779014
10695459301   & EMILIO REYES     YAJIRA L BELTRAN          5N1AT2MT8EC823868
13248451101   MENDEZ             RAM J                     JN8AT2MT1GW029126
13245914001   MARTINEZ           MICHAEL                   JN8AT2MT0GW027397
13215146701   CHICAS             MARCO TULIO               5N1DR2MN6JC670429
13243170101   CAMPOVERDE         MARCO R                   JN8AS5MV1FW256546
90000188401   MORENO             MIGUEL                    KNMAT2MT1HP521257
12359978701   CADE               LYNDA KATHLEEN            KNMAT2MT1JP545905
12198391201   ALLEN              LINDA Y                   JN8AT2MV5HW006774
10905303501   HUNTOON            MICHAEL P                 5N1AT2MV2FC840829
10332892001   POWELL             FRANKLIN DAVID            5N1AR2MN6FC712107
13226089001   GOODWYN            RONALD                    JN8AS5MT1FW662020
13082174301   HALFON             MARK & KATHLEEN           5N1AL0MN7FC506512
13101355501   MARTINEZ ISARIO    PEDRO                     5N1AR2MN5FC682517
12084119801   TAFOYA             MARIBEL                   JN8AT2MT9JW468730
10428028101   GOSSELIN JR        RAYMOND R & SANDY         5N1AT2MN6HC844661
13288687001   KENDRICK           DIANA                     KNMAT2MT1JP601051
10791840701   GREGORY            TODD S                    5N1AT2MV0EC784503
90000185901   FRICKE             CONRAN                    KNMAT2MT7GP723809
13212066501   DIAZ               LUIS M                    5N1DR2MN5HC651655
13070934701   KAPOOR             RAJEEV                    5N1AL0MM2FC523323
90000186001   THOMAS             DORETHA                   5N1AT2MN4GC916844
13265004601   LUJANO             ANNA G                    JN8AT2MT7HW402915
13305335001   CASAS              MARIA                     KNMAT2MT4JP563945
13239293801   RODRIGUEZSIAS      SAMUEL                    JN8AS5MT9EW602940
13337791001   LAZALDE            ROMANA                    KNMAT2MTXHP586771
90000184701   GULLA              DEAN                      KNMAT2MT0JP536421
90000177001   FAGEN              KRISTI                    5N1DL0MN2JC522168
13190073001   FARAR              TEENA JO                  5N1DL0MN2JC522168
90000178101   PRUITT             ELEANOR                   KNMAT2MT3JP612245
13205330501   BENEFIELD          DANIEL                    5N1DR2MN1JC606704
13097245901   ROBLES             FRANCISCO JAVIER          5N1AR2MN3FC603362
13218436901   EDWARDS            KAREN L                   5N1DR2MN8JC613858
13236361601   CRUZ JR            RAMIRO                    JN8AS5MT7FW153341
90000182301   MOSQUERA           VALENTINA                 5N1DR2MNXJC657022
13122241701   EPPS               WILLIE JARRELL            5N1AT2MN4GC916844
13208031001   VIEGAS             GEORGE                    5N1DR2MN3HC619206
90000181101   MARTINEZ           VICENTA                   5N1AR2MN8FC670569
90000176801   RAMIREZ            GUADALUPE JUDITH MACIEL   5N1AR2MN8FC642142
13213115801   OROZCO             IRMA C                    5N1DR2MN5JC644131
13106114801   PADILLA            MARCOS P                  5N1AR2MN8FC642142
13105521501   CARMONA            JAVIER                    5N1AR2MN7GC652789
13169209401   WARD               KATHERINE C               5N1AT2MTXGC887882
13233153601   DOMINGUEZ          ERNESTO                   JN8AS5MT5FW658357
90000174401   FIGUEROA           ALMA                      5N1AL0MN1FC531650
13274581101   CONDE              JOSE A                    JN8AT2MV3HW019894
13212860301   GUEVARA            EFRAIN                    5N1DR2MN5JC611498
13125274401   SANCHEZ            ORALIA                    5N1AT2MN9GC747341
13206353001   FLORES             ROSA E                    5N1DR2MN2HC639995
13336867101   ROSIL              VICTOR ALFREDO            KNMAT2MTXHP525615
13198646601   RODRIGUEZ          BRENDA                    5N1DR2MM4HC612188
13151475101   GONZALEZ           ANA L                     5N1AT2MT6FC766930
90000172001   HALFON             MARK                      5N1AL0MN7FC506512
13224432901   TYSON              SHARON                    JN8AS5MT0FW672327
90000170701   LUNA               FELIX                     JN8AT2MT9HW137852


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90000169001   EDWARDS             ANTHONY                  5N1DR2MN8JC613858
13233285101   CASTILLO            LUZ                      JN8AS5MT5FW662988
90000171901   MACIAS              EVE                      5N1DR2MN6JC657261
13096782801   LEON                VALERIE & LOUIE          5N1AR2MN2GC620686
90000085501   DODSON              KRISTYNA                 5N1AR2MN1GC642744
13117502601   DAVIS               KELLY LEANNE             5N1AT2ML9FC817885
13174056801   GONKO               KATIE MAE                5N1AT2MV3EC755898
90000086701   REGAN               KATHLEEN                 5N1AR2MN6FC606482
13317402501   GROUNDS             KAREN S                  KNMAT2MT7FP510664
13324404001   JOHNSON             RALPH                    KNMAT2MT8GP658212
13090632301   AIDELEBE            JULIUS OMOAPE            5N1AR2MM8FC653102
13352900901   SOTO                JORGE L                  KNMAT2MV9GP679961
13087985001   REYES               JOHNNY P                 5N1AR2MM3FC671880
13228752301   RICHER              JESSICA E                JN8AS5MT3EW614436
13109598501   KASMIJAN            JAVOORI                  5N1AR2MNXFC638741
13092142701   CALVARIO            HUMBERTO & MARCELLA      5N1AR2MN0FC612746
13263957901   SO                  HOIPIN                   JN8AT2MT7HW137980
90000084301   GAFFUD              FERNANDO                 5N1AR2MMXFC641839
13225694001   GLAZE               RACHELLE E               JN8AS5MT1FW162620
13295049201   MARTINEZFONSECA     FATIMA                   KNMAT2MT3FP571865
13302551201   CORONA              ENRIQUE                  KNMAT2MT4GP736257
13171225101   ALBAUGH             VICKY L & DEAN           5N1AT2MV0FC871710
13096887001   DEGUZMAN            DAKILA                   5N1AR2MN2GC633292
90000082001   URRUTIA             CLAUDIE                  5N1AR2MN2FC675234
13261961101   CARTER              CLAUDETTE                JN8AT2MT6HW381734
13450871301   CARTER              CHRISTINA A              JN8AT2MTXHW137620
13256833001   SILVA               JOAQUIN & CATHY          JN8AT2MT4HW380761
13242233501   BAUTISTA            CATHERINE P              JN8AS5MTXFW651047
13156231901   & RANDY TANKSLEY    CAROLYN L HORNE WESLEY   5N1AT2MT7FC916737
13262885501   LOPEZ               PETER ALLEN              JN8AT2MT6JW459886
13238198901   CASTILLO            CARLOS ALFONSO           JN8AS5MT8FW151906
13179632001   CASTILLO            CARLOS ALFONSO           5N1AT2MV8GC763479
13239212401   WHITE               BRIAN D                  JN8AS5MT9EW104804
13347995001   GUTIERREZ           BRENNA                   KNMAT2MV5HP585495
13309802301   LI                  BING                     KNMAT2MT5HP603525
13241985301   RAMIREZ             BEVERLY                  JN8AS5MTXFW156315
13104523401   MENDEZ              BERTHA                   5N1AR2MN7FC661619
13174035001   APOYAN              ARA                      5N1AT2MV2JC835879
13298431301   VALADEZ             ANTHONY D                KNMAT2MT3HP595294
13198725201   EVANS               ALLEN R                  5N1DR2MM4HC646793
13163992401   & PATRICIA HARRIS   TERRENCE WILSON          5N1AT2MT9FC856122
13260941101   DIAZ                ALICIA                   JN8AT2MT6GW018204
13099685301   CAMARGO             PATRICIA J               5N1AR2MN4FC696800
13107436201   SUTTON              NATHAN JAMES             5N1AR2MN8GC666037
13263789301   STOROSHKO           NATALIA                  JN8AT2MT7HW130513
13316970401   RIVERA              MICHAEL                  KNMAT2MT6JP588720
90000081801   DAVISON             JOVAN                    5N1AT2MV2HC820132
10322544401   NALLEY              JOSEPH R                 5N1AR2MN5FC711062
11022690201   GOOZIE              JOSEPH G & DIANE         5N1AT2MV4GC894151
12542061401   RODRIGUEZ PENA      JOSE LUIS                KNMAT2MT8GP604778
10467857401   STRONG              JOHN THOMAS & JOAN       5N1AT2MT1EC816633
11738355701   WIRT                JESSICA                  JN8AS5MT3EW610225
12179373401   THOMPSON            JEROME E & SALLY         JN8AT2MV4HW006071
10378912101   HINES               JERILYN                  5N1AT2MK0EC855480
13446171001   MEYERS              ALICIA MARIA & JEREMY    KNMAT2MVXFP540081


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11285136801   RICE                 JENNIFER               5N1AT2MV9HC852639
11841406901   KELLEY               LORA                   JN8AS5MV1EW717906
11552097101   NIEMEYER             JEANNINE GRACE         5N1DR2MM7HC657822
90000079001   JACKSON              JAMES                  KNMAT2MV8GP719348
10878489701   TORRESS              JAKEEM L               5N1AT2MV1HC840114
13559655501   BOYD                 HAZEL E                JN8AS5MV0FW252049
12703909001   HOWELL               GLINDA S               KNMAT2MV2FP501792
10748117001   & SHERRY BLACKMAN    GENE PEARSON           5N1AT2MT9HC832972
12280765001   GOLDBERG             GARY HAL               JN8AT2MV9HW276218
13034270101   GUIMAS               FERNANDO               KNMAT2MVXFP555499
12283412401   GREYEYES             EVERETT JUNIOR         JN8AT2MV9JW308574
11568757901   FILIPPI              DOUG                   5N1DR2MM8JC612412
10414759301   ROBERTS              LONNI                  5N1AT2MM3GC827015
11724564101   BRIGGS               DELORES PLYLER & DON   JN8AS5MT2EW101131
12139638101   MEROS                DENNIS JOHN            JN8AT2MV2GW145968
13006956501   COOK                 DENNIS J               KNMAT2MV9GP703188
13001649401   BELLIVEAU            DENNIS A               KNMAT2MV9GP648368
10535446601   DOYLE                DEANNA                 5N1AT2MT3EC866403
13010845501   BOUCHER              DAVID ARMAND & ELLEN   KNMAT2MV9HP509410
12955722501   KEATING              DANIEL T               KNMAT2MV8FP590638
10282021101   CUADROS              DANIEL GODOFREDO       5N1AR2MN1FC717487
90000076401   VANDERKOON           DANELLE                5N1AT2MV3GC799337
11323963401   DELANEY              LISA ANNE              5N1AT2MVXGC847772
12033594301   GOODEN               CLAUDIA MOFFETT        JN8AT2MT6HW141910
90000077601   SHIELDS              CHRIS                  5N1DR2MM4HC633249
10216417401   SEVER                CHAD                   5N1AR2MM7FC609009
11098036001   FREEMAN              CATHERINE ANN          5N1AT2MV6EC801630
11161046101   JAQUIS               CAROL L                5N1AT2MV7FC869419
11683504701   LAMB                 BRIDGET KAY            5N1DR2MN9HC614530
13000388801   CUTLER               BRIDGET PATRICE        KNMAT2MV9GP635863
12123445901   ROBILOTTO            ANTHONY J              JN8AT2MV1HW008392
10962440301   PALMER               ANN ELIZABETH          5N1AT2MV3GC751143
10283557301   JARRARD              KIMBERLY A             5N1AR2MN1GC619500
12180471901   OVERSTREET           DAVID                  JN8AT2MV4HW013778
12781559401   VAIL                 TRACY E                KNMAT2MV3JP574372
11937288501   SCHUBERT             STEPHEN                JN8AS5MVXFW254259
13264771001   PORTILLO             ERNESTO                JN8AT2MT7HW393472
13180536801   MEREDITH             LINDA M                5N1AT2MV9FC919687
13213866901   MEEK III             DALE LEAVERN           5N1DR2MN6HC646299
13082854301   CARPENTER            CEDRIC D               5N1AL0MN7GC511811
13220300501   TRIGEROS GARCILAZO   MARCO ANTONIO          5N1DR2MN9JC616879
90000167701   RAMIREZ              ADRIAN                 5N1AR2MN1FC722575
13228447901   ORTIZ                DELCY I                JN8AS5MT3EW603632
13223408701   DEZEURN              EDDIE                  JN8AS5MT0EW622445
13222496301   MOSQUERA             FERNANDO NORBERTO      5N1DR2MNXJC657022
13451589401   & STEVEN JORDAN      GERRI M PLUNKETT       KNMAT2MT6GP709321
13348874301   KOSAKOWSKI           JAGNA                  KNMAT2MV6GP692912
13447751001   HAAG                 JENNIFER               5N1AR2MN0GC630309
13135157601   JACOBS               JILLIAN K              5N1AT2MT2EC847812
13266613301   FLETCHER             KAREN                  JN8AT2MT8HW142010
13243236501   NORMAN               KAREN S                JN8AS5MV1FW763012
13331956801   VELAZQUEZ            KARLA VALERIA          KNMAT2MT9HP570576
90000162801   MARAVILLA            ANA                    5N1AT2MN6GC730996
13259532101   KING                 KATHY                  JN8AT2MT5HW387833
90000166501   WHITESIDES           LAURA                  JN8AS5MT7FW667089


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13097891701   MOORE               LAUREN                        5N1AR2MN3FC673489
13344547101   MUSGRAVE            LAURIE A                      KNMAT2MV3GP685593
13174047701   LAMPI II            LEO V                         5N1AT2MV3EC752435
90000163001   BARAQUIO JR         LEODENCIO                     5N1AR2MN4FC631557
13292853001   BANGS               LEONARD                       KNMAT2MT2HP611744
13135025001   GLASS               ANNA                          5N1AT2MT2EC824515
90000164101   GUERRERO            MARLENE                       5N1AT2MV0FC900087
13306642301   BRAVO               MIRIAM                        KNMAT2MT5FP587050
13325631501   NAVARRO             RAMON & BRIFIA                KNMAT2MT8HP526424
13095054301   DENECOCHEA          REYMUNDO                      5N1AR2MN1GC613521
13332203801   ALBERTO             RHEA CONSTANTINO              KNMAT2MT9HP586342
13242377701   GERMAN              SCOTT N                       JN8AS5MTXFW654711
13178511401   CARR                THURSTON WADE                 5N1AT2MV7FC920479
90000155001   ADAMS               URWASHI                       5N1AR2MN1GC662282
90000156201   REYES               CESAR                         KNMAT2MT2GP657718
13102455301   LOPEZ               VICTOR M & ELENA              5N1AR2MN6FC618745
13212280701   PRADO               ORLANDO                       5N1DR2MN5HC678452
13123386501   WONG                JOANNE SAU MAN                5N1AT2MN6GC833500
13275795301   DESANTIS            ELIZABETH                     JN8AT2MV6HW020490
13147950701   SANTANA             TAMMY L                       5N1AT2MT5FC859311
90000157401   MENDOZA             CONRADO                       JN8AS5MV7FW758347
13125606301   ENRIQUEZ            ANGELIC M & DAVID             5N1AT2MN9GC886210
90000158601   YASUMURA            DAVID                         5N1AT2MTXFC854105
90000160401   ROBERTS             DAWN                          5N1AR2MN6GC652492
13206252501   CONORQUE            DEEDRA D                      5N1DR2MN2HC627829
13285098901   RODRIGUEZGARCIA     JOSE A                        KNMAT2MT1GP702423
12058257001   VEADE               CHRISTOPHER J                 JN8AT2MT8GW012386
11528592101   & JENNIFER WALKER   DATRWAN HARRIS                5N1DR2MM5HC678040
13492694801   COLLILUORI          DAVID JOSEPH                  5N1AT2MV2GC921413
11796859601   REYNOLDS            DAVID TROY                    JN8AS5MT8EW619406
11832165101   RODRIQUEZ           DEBRA J                       JN8AS5MV0FW252777
12720750801   MERIWETHER          DENISE R                      KNMAT2MV2GP691143
11946626001   HUNN                DOUGLAS A                     JN8AT2MT0HW131616
12259216501   KANE                AMY DENISE                    JN8AT2MV8HW258261
11766244601   SMITH               ELSY CONSTANZA                JN8AS5MT5FW165617
90000151301   SANCHEZ             ERNESTO                       JN8AS5MT6EW616083
90000153701   ECHEVARRIA          GUILLERMO                     5N1AT2MT4GC799300
10665675201   FLORES JR           GUILLERMO                     5N1AT2MT7FC766645
12946340101   FRANKS              HERBERT                       KNMAT2MV7JP597251
12756076201   NOGUERA             JOSE ALEJANDRO                KNMAT2MV3GP635647
11178615001   WILLS               KEVIN D & LEONA               5N1AT2MV7HC764303
13276336901   DMELLO              LOVINA MOSES                  JN8AT2MV7JW305205
12046309001   TENNANT             LUCRETIA A                    JN8AT2MT7GW030328
11816736401   MCAVOY              BRIAN                         JN8AS5MTXEW601697
10281812501   TENORIO             CLARISSA MONIQUE & LUDIVINA   5N1AR2MN1FC713441
90000150101   GRIJALVA            MANNY                         5N1AT2MN0GC838935
11038861601   WAGNER              MARGIE ANN                    5N1AT2MV4JC781033
11674243401   BAILEY              MATTHEW WAYNE                 5N1DR2MN8HC621078
90000149501   RUDDY               MIA                           KNMAT2MT9FP504784
10751144701   BEREDA              MICHELLE                      5N1AT2MT9JC703667
10486713901   JONES               NAIDEAN DEYNAYE               5N1AT2MT1HC776929
90000148301   GALLET              RACHELLE                      KNMAT2MT5HP557596
13037828801   FIERRO              RICARDO DANIEL                KNMAT2MVXGP600622
11758988301   HAIRSTON            CAMELITA MELINDA              JN8AS5MT5EW101785
12637248201   MASKREY             ROBERT A                      KNMAT2MV0GP668542


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13473553501   HOEY               LINDA A & SARA            5N1AT2MK0FC826580
10894274001   STAFFORD           SARA RENEE                5N1AT2MV2EC798371
10878173201   STAFFORD           SARA RENEE                5N1AT2MV1HC833941
10301388001   BARCENAS           CAROLINA C                5N1AR2MN3FC701260
11759201801   NEWTON JR          CHARLES MAXWELL           JN8AS5MT5EW103066
12109970201   DRUMMOND           JAMES M & CHARLOTTE       JN8AT2MV0HW266581
10205834901   DRUMMOND           CHARLOTTE SUE & JAMES     5N1AR2MM6FC636072
11933379001   FOWLER             CHRISTOPHER & CASSANDRA   JN8AS5MVXEW704362
90000146001   NOTHSTEIN          TABATHA                   JN8AS5MT0EW104285
13515623301   GINI               BENJAMIN ROBERT           5N1AT2MV6HC813894
11871310301   OROZCO             AUBREY M                  JN8AS5MV4EW708178
10501491601   VAZQUEZ BRAVO      CARLOS ESTEBAN            5N1AT2MT2EC838317
13376530101   PAVLOV             NICOLE L                  5N1AT2MT7JC820969
90000142201   RAUL (ROY)         NORA                      5N1AR2MN4FC695498
10291041801   PHILLIPS           JOHN LAWRENCE             5N1AR2MN2FC692664
90000143401   JENKINS            CAROLE                    JN8AT2MT3HW386972
10790118301   DILLON             TRACY M                   5N1AT2MV0EC759844
10515434901   HERITAGE           KATHIE LYNN               5N1AT2MT2GC852351
10296950401   LAWSON-LEAKES      YVETTE YVONNE             5N1AR2MN3FC612725
10752702901   GRIFFITH           NANCY J                   5N1AT2MT9JC739116
10298787701   THOMAS             CHASITY W                 5N1AR2MN3FC646289
10435187101   HYMERS             GEORGE                    5N1AT2MT0EC813772
11134509101   SAVCHUK            MICHAEL                   5N1AT2MV6HC878535
12365472501   SCHMIDT            WILTON ROBERT             KNMAT2MT2FP521751
11721159001   HARRINGTON         TRISHA CORRINE            JN8AS5MT1FW654192
13066902701   GREENE             ANNETTE LASHUN            KNMAT2MVXJP581979
11836182001   ALLEN              MICHELE B                 JN8AS5MV0FW763700
11008512701   HEARN              BARBARA                   5N1AT2MV4FC868986
12468359901   ADAMS              JOYCE A                   KNMAT2MT5HP568145
11262708001   DELFINO            LOUISE M                  5N1AT2MV9FC876517
12248685701   OBRIEN             KIMBERLY ANNE             JN8AT2MV7JW342853
13611343601   JOPLING            NORMAN A & MARY           KNMAT2MV2GP615597
12221894201   RADFORD            ELIZABETH A               JN8AT2MV6HW261322
90000140901   WAUTELET           RENE                      5N1AR2MM9FC695813
11206245301   THESATUS           ULRICK J                  5N1AT2MV8FC782497
10361068601   LANCASTER          STANLEY RUSSELL           5N1AR2MN9FC658589
10525045401   PINICK             LINDA D & JIMMY           5N1AT2MT2JC722271
12196836401   BUSHEE             TYRA & EDMOND             JN8AT2MV5GW151327
10147273001   GADDY              JAMES RILEY               5N1AR2MM1FC683381
10879159201   GREEN JR           VERNON LESTER             5N1AT2MV1HC852151
12692462401   LEONARD            WALTER RAHLO              KNMAT2MV1HP590094
13668524901   RAWLING JR         WILLIAM A                 JN8AS5MVXEW700425
13045244001   & BELINDA BIVENS   SABRINA HARRINGTON        KNMAT2MVXGP680360
12372827701   BREWER             CYNTHIA LYNN              KNMAT2MT2GP640546
11267337501   ADJAPONG           DORRETA J                 5N1AT2MV9GC754564
12200351201   GUTHRIE            NANCY PROFFITT            JN8AT2MV5HW020383
90000137901   BENAVIDES          GUADALUPE                 JN8AT2MTXJW451998
90000136701   HARMON             LOIS                      JN8AT2MV8HW267106
90000133101   OSTERHAUS          ASHLEY                    5N1AT2MT5GC817691
13423699301   BEACH              ANGELA                    KNMAT2MT0FP555252
13218243901   CORONADO           FELIX & ALMA              5N1DR2MN8HC910963
13307098001   DUNCAN             SHARON D                  KNMAT2MT5GP630805
13221887201   VERA               GUADALUPE                 5N1DR2MNXHC903982
13449032001   MORAN              MARIA                     5N1AT2MT9HC865731
90000125201   CRUZ               ALMA                      JN8AS5MT7FW153341


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13329532101   MERINO              GABRIEL JESUS           KNMAT2MT9GP612548
90000126401   GARDNER             ANDREW                  5N1AR2MM0FC606100
90000127601   CRUZ                ALMA                    JN8AT2MT2HW399664
90000128801   VALENCIA            MARTINA                 5N1DR2MN5HC905400
90000129001   MERINO              BEATRIZ                 KNMAT2MT9GP612548
90000130601   BARRERA             YADHIRA                 KNMAT2MT3HP600574
90000132001   TORRE               MARIA T DE LA           5N1DR2MN4HC683786
13103294001   NEGREROS            VANESSA VICTORIA        5N1AR2MN6FC712589
13170178201   QUEZADA             ALBERTO J               5N1AT2MTXJC721045
13287013701   ENOS                ANDREA COLETTE          KNMAT2MT1HP597612
13132918201   CARRIEDO            SALVADOR RAMIREZ        5N1AT2MT1GC887348
13275842801   GALIEGO             EVELYN E                JN8AT2MV6HW253432
90000122701   HAYDEN              CHARLES                 JN8AS5MTXFW652716
13203958801   TOLEDO              JOHN P                  5N1DR2MN0JC660690
90000120301   GUZMAN              KATHY                   5N1DR2MN3JC631121
12167089201   ROMAN               JOHN N                  JN8AT2MV3HW272150
12782150801   MARTINEZ            PAULINE BARRERA         KNMAT2MV3JP582472
13266088001   QUINTANA            MARIANNE M              JN8AT2MT8GW022061
90000306601   SIROTA              ELLIOT                  5N1AT2MV2GC762697
12775116601   CARVER              NYLA E                  KNMAT2MV3HP611883
12060683501   OCHS                SUSAN MUELLER           JN8AT2MT8HW130312
10844260301   KOZAKA              THEODORE & PATRICIA     5N1AT2MV1EC807741
11147034101   FAIRWEATHER         JOHN R                  5N1AT2MV7EC778343
13632132001   HANSBREW            SANDRA LEE              KNMAT2MV7FP525120
11810413501   BREAUX              KELLY NUNEZ             JN8AS5MT9FW157035
12277102301   BAKER               KAREN                   JN8AT2MV9HW251321
12979909901   JIMENEZ-VELAZQUEZ   JULIA RODRIGUEZ         KNMAT2MV8JP503443
10670636601   SPANN               JUDITH OMOTAYO          5N1AT2MT7FC895226
90000075201   WILSON              GARY                    JN8AT2MV1JW343769
10730215901   MILLER              LAWANDA TERRELL         5N1AT2MT9EC871850
10483478001   BLAIR               CRAIG WILLIAM & LUCY    5N1AT2MT1GC872140
12745667301   LONG                SANDRA                  KNMAT2MV3FP517399
11928385201   CLARK               JESSICA                 JN8AS5MV9FW750847
10699538801   MANNING             JOAN ALICE              5N1AT2MT8FC794678
11859766801   ZHAO                WUCHAO                  JN8AS5MV3EW702548
13360875001   RINKEWICH           WILLIAM H               5N1AR2MM6GC644593
12745555301   SMITH               WILLIAM O & HARRIETTE   KNMAT2MV3FP516351
10439220401   YOUNG               JAMES & VICKIE          5N1AT2MT0FC783190
11769098301   GREEN               MERCEDES & WILLIAM      JN8AS5MT5FW667592
11095167001   JAIME               WILFRED LUIS            5N1AT2MV6EC761050
13666932301   PETERSON            WAYNE SCOTT             JN8AS5MV2EW200940
11771238301   FARBER              VLADIMIR                JN8AS5MT6EW601759
10784948301   EDDIE               VANESSA                 5N1AT2MTXJC738203
13536268401   BELL                TYNESHA S               5N1AT2MVXGC811693
12428804201   MANNING             TRACY THOMAS            KNMAT2MT4GP622274
12368094301   WALTER              THOMAS MICHAEL          KNMAT2MT2FP562364
12919483901   SERNA               DOROTHY J               KNMAT2MV7GP640205
12356340901   REED                TERESA                  KNMAT2MT1HP609306
12708997401   THOMAS              TAVIA NOVETTE           KNMAT2MV2FP560373
10527239501   HOWARD              TANYA FELICA            5N1AT2MT2JC773530
90000069701   BONDS               TAMMY                   5N1AR2MM2FC711611
12479774001   BONDS               LINDA                   KNMAT2MT6FP524815
11072158501   BRANDNER            TAMATHA                 5N1AT2MV5GC867055
11099261101   MILLER              TAMARRAI SMITH          5N1AT2MV6EC820999
12287890501   SHESKI              SUSAN K                 JN8AT2MVXGW130229


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10895092001   BLACK              STEVEN                        5N1AT2MV2EC811636
11857808001   SERNA              DOROTHY JEAN                  JN8AS5MV2FW766971
11905903401   GLASGO             STEPHEN C                     JN8AS5MV7FW253098
11749618201   POINTER            STARKESHA L                   JN8AS5MT4EW609391
12667753001   MORRIS             STACIE L                      KNMAT2MV1FP547453
12800685701   HUDSON             SINETRIA LASHUNDRA            KNMAT2MV4GP676157
13613231501   WEISBERG           SHERRY LOIS                   KNMAT2MV2HP573949
12792250701   HONEYCUTT          SHEILA S                      KNMAT2MV4FP584299
11738568201   BECKER             SHAWNA LYNN                   JN8AS5MT3EW611553
11709339701   HOUSE              SHARON DENNIS                 JN8AS5MT0FW650943
11219132001   WILSON             GARY CARL                     5N1AT2MV8GC784798
10437481001   BUTLER             SHANNON                       5N1AT2MT0EC866035
11853766001   BOUSQUET           THOMAS ALFRED                 JN8AS5MV2FW255972
90000066101   ALLEN              CAREY                         5N1AR2MN2GC662209
10934917901   SILER              DONNA                         5N1AT2MV2JC748953
10939672801   ADAMS              CHARLES                       5N1AT2MV2JC820914
13413499001   FLORIVAL           SELENA S                      JN8AS5MVXFW759086
10583190601   COOPER             RONALD S OR LINDA             5N1AT2MT4HC752270
13651230601   ROGERS             RONALD FRANCIS & ROBIN        5N1AT2MV7GC887985
11685446701   BLACKWELL          DEBORAH & ROBERT              5N1DR2MN9HC650606
11928343801   FARRELL            ROBERT                        JN8AS5MV9FW750587
10363585301   OLIVARES JR        ROBERT & SYLVIA               5N1AR2MN9FC708228
11983710901   MEADOWS            RICKEY                        JN8AT2MT2JW466432
11779285801   POWELL             RICHARD ESTILL & GINGER       JN8AS5MT6FW660411
11497669701   PODLAS             RICHARD T                     5N1DR2MM2JC656244
11733456001   & RICHARD LECKER   PATRICIA IRENE WAHRENBERGER   JN8AS5MT2FW659109
10810639101   CHODERA            RICHARD N                     5N1AT2MV0GC753223
11518348601   MC NULTY           SEAN PATRICK                  5N1DR2MM4HC909249
12791401801   CRUM               RANDALL ORRIS                 KNMAT2MV4FP572069
12016704901   WITHERELL          RACHAEL                       JN8AT2MT5GW021935
90000064801   OLIVER             QAADIR                        KNMAT2MV2FP544304
10382746801   RATHOD             PRADIPKUMAR KESHAVLAL         5N1AT2MK2FC903210
11043896601   MUELLER            PETER ERNST                   5N1AT2MV5EC754607
11899916301   YOUNG BOUTTE       SHELLY                        JN8AS5MV6FW766794
11766706701   WARD               PENNY ALICIA                  JN8AS5MT5FW652767
10858598001   VANDENBERGHE       PATRICIA ANN                  5N1AT2MV1FC909803
10789030601   TURNER             PATRICIA ANN                  5N1AT2MTXJC846417
11786497301   SMITH              SCOTT ANTHONY                 JN8AS5MT7FW150312
12343276501   CAUDLE             PATRICIA TURNER               KNMAT2MT1GP622040
11846271401   BUFORD             ELLA PATRICIA                 JN8AS5MV1FW760756
10830239801   LEMPIN             PAMELA A & PAUL               5N1AT2MV0HC884234
11122576001   SMITH              PAMELA A                      5N1AT2MV6GC865945
10909135801   YURICA             PALMER L                      5N1AT2MV2FC908756
10675295901   GRABER             NOVALEE                       5N1AT2MT7GC804876
12082402401   MIGUT              NOBLE MICHAEL                 JN8AT2MT9JW455914
11196484201   NAPPO              NICKY A                       5N1AT2MV8EC760725
11216391901   MOURAD             NICHOLAS J                    5N1AT2MV8GC745029
90000063601   LIPARI             NICHOLAS                      KNMAT2MT9FP510505
10330105701   MCGILBERRY         SARAH                         5N1AR2MN6FC658582
12459422001   SALISBURY          NANCY LYNN                    KNMAT2MT5GP659690
12669096001   SANO               MOUSTAPHA                     KNMAT2MV1FP566844
10268991001   HAYES              MONIQUE THERESA               5N1AR2MN0FC666547
13514125401   SIMON              MONICA GRACE                  5N1AT2MV6GC778398
12793072301   & MISTY MOUSER     JOSEPH BARNETT                KNMAT2MV4FP592595
13483637601   MIRANDA            MICHELE                       5N1AT2MV1EC764177


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13018923601   DOCKERY             MELISSA LEESA           KNMAT2MV9HP604713
11898252701   MEISENHELTER        MATTHEW ARTHUR          JN8AS5MV6FW756766
13466799201   FIELD               MATTHEW ALAN            5N1AR2MM6FC676720
12873051101   HASE                MARY JO                 KNMAT2MV6FP572221
11216311701   GREENING            SARAH ELIZABETH         5N1AT2MV8GC743720
11814501001   JOHN                MARILYN                 JN8AS5MT9FW667336
10740805301   BARBOSA-DEL MORAL   SANDRA                  5N1AT2MT9GC816334
10674996101   SAIA                ROXANNE                 5N1AT2MT7GC798724
11539961601   TRUSTY              RONNIE                  5N1DR2MM6HC660811




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